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MIRICK, O'CONNELL

15008

Joseph H. Baldiga,

Invoice Number *****%*

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

09/25/12

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preference demands.

Attend to new records from American Express,
consider implications of same, and develop
plans for analysis.

Telephone call and follow up email from D.
Trache (Swissport) regarding compilation of
additional information for defenses, and update
chart to reflect (.2); review response from
Sheltair and update chart to reflect (.1).
Confer with Trustee regarding status of
preference demands.

Emails with Attorney Ahlers (ABC) regarding
contemporaneous exchange defense and to confirm
further action is unnecessary, confirm same
with Trustee, and update chart.

Review letter from Springfield Airport
Authority and assess settlement offer (.1);
emails with Google’s counsel to extend response
deadline (.1); review mail from Allegheny
County (.1); update preference demand chart to
reflect all (.1).

Review mail from Attorney Komondy regarding
Kalamazoo preference demand.

Review strategy regarding recovery of
preferences and fraudulent transfers and
additional information received from accountant
regarding same; calendar ahead for additional
review. . /

Review Attorney Affidavit executed by Attorney
Dees in connection with special counsel
retention; determine if preference demand
issued to Jacksonville Bank and response, if
any; report all to trustee.

Review demand responses, next steps.

Assess Milam Howard payments in connection with
preference demand to Jacksonville Bank (.2);
update chart to reflect NFA (.1); confirm
receipt of response from NY/NJ Port Authority
and update chart regarding same (.1).

Continued attention to defenses, possible
settlements.

Review various responses to preference demands;
review/update response chart, as necessary.
Comprehensive review of preference responses

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

10/05/12

10/05/12

10/05/12

10/08/12

10/08/12

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10/08/12

kmdellec 9255

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and strategies and next steps with group.

Met with team to review preference recovery
efforts to date and develop strategy for moving
case forward.

Review preference tracking chart to identify
preference defendants to receive second demand,
draft letters to same, review and revise same.
Prepare for meeting (.3) then review preference
demands status with Trustee, assess certain
specific demands, defenses, and issues, and
develop next steps for preference and
fraudulent transfer demands and analysis (1.7);
follow up regarding same (.2).

Continued attention to multiple preference
matters and determine next steps, resolution
strategies.

Continued attention to multiple preference
matters and determine next steps, resolution
strategies.

Continued attention to multiple preference
matters and determine next steps, resolution
strategies.

Review preference issues (.2); review revised
chart (.2); address individual preference
demand responses including: follow up regarding
Aeromotive Ground Support (.1); email counsel
to Airport Terminal Services (.1); email
counsel to Allegheny County Airport Authority
(.1); review and assess response from Aviation
Advantage in connection with backup information
from Verdolino & Lowey, identify additional
information needed, assess likely exposure,
email Attorney Kushner for specific backup
related to same, and update chart to reflect
analysis and action (1.9); review Carribean
Sun/World Atlantic Airlines information and
update chart to reflect analysis (.2); assess
Costco backup, email Trustee to recommend NFA,
and update chart to reflect (.6); draft letter
to Mass Port Authority following up on the
status of its response (.2); update chart to
reflect analysis of The Jacksonville Bank
payment (.1); investigate payments made to
McNair Law firm and tag for second demand

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14190

10/09/12

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10/11/12

Joseph H. Baldiga,

JHB 9255

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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

letter (.1).

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Continued attention to, assessment of multiple

preference matters regarding settlement

parameters, next steps.

Complete drafts for second demand letters
prepare demand to Caribbean Sun Airlines (.2);
review initial demand to EIN and review backup
information to determine amount of payments
made during 90 day preference period (.3);
review/revise drafts of second demand letters
(1.0); review payments made to AMEX and Jet Pet
during preference period and draft initial
demands to American Express and Jet Pay (1.0).
Strategize with Trustee regarding Ober/Kaler
counter-proposal (.1); review Progressive
Funding response and relevant Code sections to
assess fraudulent transfer claims (instead of

preference claim) against Progressive,

and

(.8);

strategize with Trustee regarding same (.3).
Continued review of preference issues and

materials.

Review revisions to second demand letters and
additional "initial" demand letters (x2).

Draft second demand letters for those

preference defendants that responded informally
and review/revise same; revise second demand to
HIN with respect to initial demand being on
basis of "insider" and second demand being on
basis of 90 day preference; review and revise

same.

Assist with preparation of second demand
letters and review status of correspondence in

connection therewith.

Electronic mail to M. Whitehouse at Verdolino &
Lowey regarding receipt of American Express
account statements and transmittal letter to M.
Whitehouse enclosing same (.4); draft revised
demand letter to holders of promissory notes
(.5); review same (.5); final review of all
revised and second demand letters (2.1); review
current insider four year analysis provided by
accountant and prior 2 year analysis and
preference analysis and coordinate in depth

summary for certain insiders

(1.2)

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Direct Air (Southern Sky Air & Tours, LLC)

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Review and track response from Google asserting

contemporaneous exchange defense.

Draft/review demands for additional promissory
note parties (.7); review four year analysis.
provided by accountant to confirm payments made
during preference period to American Express
and Jet Pay (.5); review draft of preliminary
spreadsheet regarding insider payments and
revisions to same (.9); review final draft of
spreadsheet regarding insider payments and
revised second demand letters to preference
defendants in preparation of team meeting

(2.5).

Assist with insider preference second demand

letters (.1) and AMEX backup (.1).
Review Proof of Claim filed by The

Port

Authority of NY and NJ and update chart to

reflect.
Further review of preference files

and

determine next steps, emails to group regarding

same.

Continue review of responses and strategies for
resolution (.9); meet with G. Barbieri to

discuss same and next steps (.5).

Confer with Trustee regarding airport
preference responses; counteroffers, and PFC
priority status (.5); review Trustee’s analysis
of Garofolo preference response (.2); confirm
receipt of Google’s original response (.1);

confirm receipt of World Atlantic

Airlines/Caribbean Sun Airlines response and

update chart to reflect (.1).

Assist with categorization of payments to
insiders (.2); address discrepancies within

payment charts (.1).

Review new responses, case materials and next

steps regarding preferences.

Track confirmation of delivery of American

Express statements to accountant.
Review email from Attorney Kushner

(Aviation

Advantage) with further response and update

chart to reflect same (.1); review

and revise

second demand letters to multiple unresponsive

non-insider preference recipients,

including to

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14190 Direct Air (Southern Sky Air & Tours, LLC)

10/16/12 goneil 9255

10/17/12 JHB 9255

10/17/12 kmdellec 9255

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10/18/12 JHB 9255
10/18/12 kmdellec 9255
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10/18/12 goneil 9255

tailor certain of the demand letters to reflect
partial responses and to cross-check lists
against chart (1.0); review and revise AMEX
demand letter (.1); review and revise JetPay
demand letter (.1).

Review, assess, and edit spreadsheet showing R.
Keilman transfers, to reflect insider
preference and fraudulent transfer timing (.3);
review and edit second demand letters to
various noteholders (previously believed to be
insiders), consider issues regarding same, and
identify questions for Trustee (.6).

Review additional preference files, strategies
and next steps and meet with group regarding
same,

Review issues in preparation for meeting with
trustee regarding preference recoveries and
meeting with trustee (.8); attention to second
demand letters and identify ones not to be sent
(.3); review edits to second demands regarding
promissory note holders (.3); obtain copy of
claim filed by Jet Pay (.1); revise demand to
American Express based.on representations in
its proof of claim (.4); revise demand to Jet
Pay based on its proof of claim (.3); review
revisions to all (1.8).

Review and edit new insider breakdown chart
(breakdown by timing and type of payment) (.2);
prepare for meeting (.4) and meet with Trustee
regarding second demand letters, shareholder
demands, demand letters to AMEX and JetPay, and
insider breakdown (.6); follow up from same
(.1); assist with revisions to AMEX demand
letter (.1); review and approve revised second
demand letters (.2). .

Continued attention to preference files and
strategies to resolve, pursue.

Review/revise four-year analysis for insiders
and preference break-down.

Review, revise and execute multiple second
demand letters.

Emails with counsel to MassPort regarding
MassPort’s approval of check for preference
payments.

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14190 Direct Air

10/19/12 JHB
10/20/12 JHB
10/22/12 JHB

10/22/12 goneil

10/23/12 JHB

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10/23/12 kmdellec 9255

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10/24/12 kmdellec 9255

10/24/12 goneil

10/25/12 JHB

10/25/12 goneil

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(Southern Sky Air & Tours, LLC)

Continued review of preference responses and
strategies.

Continued attention to preference responses and
next steps.

Continued review of demand responses,
strategies for next steps.

Review preference response from Attorney Zayas
(Miami Air) and update chart regarding same
(.1); emails with MassPort representative
regarding request for Trustee’s W-2 (.1);
review email from C. Caswell (Automotive Ground
Support) regarding response (.1); telephone
call from counsel to Miami Air and update chart
regarding same (.1); telephone call from
Attorney Fraser (Xtra Air) regarding additional
deadline extension and update chart to reflect
(.1); review email from B. Garrett
(Orlando/Sanford International Airport)
attaching response and update chart to reflect
(.1).

Continued attention to preference responses,
offers and NFAs.

Confirm demand letter forwarded to Larry Young;
review preference tracking chart as to
revisions/updates.

Review and track message from Attorney Trache
(Swissport) attaching preference response (.1);
Review and evaluate preference response from
Wells Fargo, review payment history and
previous determination regarding Wells Fargo’s
lien, prepare memorandum to Trustee
recommending NFA, confer with Trustee, and
update chart to reflect NFA (.5).

Review and revise 4 year spreadsheet regarding
payments to insiders during different time
period (90 days vs. 1 year).

Emails with Attorney Weaver (McNair Law Firm)
regarding extension request and update chart
regarding same (.1).

Continued attention to preference responses,
strategies.

Emails to schedule call with Wyvern Hotel (.1);
review and assess Wyvern Hotel background in
preparation for same (.2); prepare memorandum

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Invoice Number ******

Chapter 7 Trustee

14190 | Direct Air (Southern Sky Air & Tours, LLC)

10/25/12

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to Trustee with recommendations (.1); review
Proof of Claim/possible new value and run
various calculations in anticipation of call
(.2).

Telephone call with Attorney Holmes (Wyvern
Hotel) regarding possible defenses and update
chart to reflect.

Continued attention to preference responses,
resolution issues and strategies.

Attention to additional preference responses
and confirm tracking on chart.

Telephone call and email from J. Vilani (Resort
Quest) requesting extension of response
deadline, and update chart to reflect (.2);
revise chart and review. status of outstanding
matters (.2),

Continued assessment of preference responses
and resolution, recovery strategies.

Emails with C. Caswell regarding further
extension for Aeromotive Ground Support and
update chart to reflect (.2); attend to
returned mail from Miami Air International and
update chart to reflect (.1); confirm receipt
of response from Airport Terminal Services,
update chart to reflect, and email Attorney
Engel to request certain backup invoices (.3);
review Springfield Airport Authority materials,
draft substantive response and counterproposal
to Attorney Lestikow, and update chart
regarding same (1.1); review Horry County
Airport Authority materials, draft substantive
response and counterproposal to Attorney
Dolcourt, and update chart regarding same (.8);
review Niagara Frontier Transportation
Authority materials, research aspects of new
value, contemporaneous exchange, and ordinary
course of business defenses in connection with
specific details of NFTA’s response, draft
substantive response and settlement proposal to
Attorney Perla, and update chart regarding same
(1.3); review Allegheny County Airport
Authority materials, draft email to Attorney
Ayoub with settlement proposal, and update
chart regarding same (.4); assess Kalamazoo

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14190 Direct Air (Southern Sky Air & Tours, LLC)

10/31/12 JHB 9255

10/31/12 kmdellec 9255

10/31/12 goneil 9255

10/31/12 goneil 9255
11/01/12 JHB 9255

11/01/12 goneil 9255

11/02/12 JHB 9255
11/02/12 kmdellee 9255

11/02/12 kmdellec 9255

11/02/12 goneil 9255

County Airport response and Proof of Claim,
identify significant flaws in response and
analysis, and prepare chart entry and
memorandum to Trustee regarding same (.8).
Further assessment of defenses, demand
responses and parameters for settlement, review
related correspondence and emails.

Review status of preference recoveries and
identify next tasks to move case forward.
Memoranda and conference with Trustee regarding
Kalamazoo settlement strategy, including
treatment of payment made during Chapter 11
period (.2); review and execute letter to
Niagara Frontier Transportation Authority (.1);
review and assess preference response from
McNair Law Firm, and update chart to describe
same (.2); telephone call with J. Rockwell (OIR
Interactive) regarding preference demand,
consider his representations, and update chart
to include recommendation not to pursue (.5).
Assist with development of draft templates for
Settlement Agreement and Complaint.

Continued attention to preference responses,
settlement strategies.

Telephone call from Attorney Ledwin (Worldwide
Flight) regarding preference defenses and case
background (.2), emails with Worldwide Flight
representative and Attorney Ledwin regarding
assertion of additional defense (.2), and
update chart to reflect all (.1); telephone
call from Attorney Dalcourt (Horry County
Airport) regarding research on commingling,
memorandum to Trustee regarding same, and
update chart to reflect (.4).

Continued attention to preference matters.
Update control sheet as to proof of claim filed
by Clinton County Treasurer; draft and
review/revise letter to Clinton County
Treasurer's counsel enclosing copy of demand
letter.

Review and organize file/correspondence in
connection with preference activities.

Confirm receipt of ATS invoices and update
chart to reflect (.1); emails with MassPort

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,

14190. Direct Air

11/04/12 JHB 9255

11/05/12 JHB 9255

11/05/12 kmdellec 9255

11/05/12 goneil 9255

11/06/12 JHB 9255

11/06/12 goneil 9255

11/07/12 goneil 9255

11/07/12 goneil 9255

11/08/12 JHB 9255

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Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

representative regarding W-9 and payment status
(.2); review and address Clinton County
Treasurer's newly filed Proof of Claim in
context of (unanswered) preference demand (.2).
Review additional responses, assess defenses
and formulate resolution strategies (.6);
review updated insider transfer chart, case
Materials and devise pursuant strategies (.4).
Continued attention to preference issues and
materials.

Draft template for preference stipulation of
settlement, motion to approve and complaint
(2.0); review and revise same (.8).

Confirm receipt of response from Vision Air and
update chart to reflect (.1); attend to updates
for Clinton County Treasurer (.1); email
Attorney Komondy (Kalamazoo) regarding
preference analysis (.8), emails with Trustee
(.1) to follow up regarding same, and update
chart (.1) to reflect; emails with M. Perla
(Niagara) to schedule call (.1); review and
consider aspects of response from North
American Airlines Inc. and update chart to
reflect (.2).

Continued attention to preference matters,
including defenses and settlement parameters.
Telephone call with M. Perla (Niagara)
regarding possible resolution (.2) and update
chart to reflect (.1), review and assess email
from M,. Perla, including backup documentation
regarding new value during appropriate time
period (.3), and draft memorandum to Trustee
recommending settlement with Niagra based on
same (.2); consider and develop small-dollar
settlement procedures (.2).

Review email from Attorney Komondy (Kalamazoo)
regarding settlement.

Telephone call with counsel to Wyndham/Resort
Quest regarding defenses and update chart
regarding same (.1); telephone call from
Attorney Frasier (Xtra Air) regarding response
(.1); veview status of responses on chart (.2).
Continued attention to preferences defenses,
responses and settlement proposals.

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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1/09/12 JHB 9255

1/09/12 Kmdellec 9255

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Review preference tracking chart regarding
updates, if any.

Review memorandum from Attorney Catuogno
(Resort Quest) regarding defenses (.1);
multiple emails and telephone calls with
Attorney Lestikow (Springfield Airport)
regarding counterproposal and settlement
negotiations, and update to reflect regarding
same (.6); confirm receipt and response from
Aeromotive Services (.1); assist with template
Complaint and Settlement Agreement (.1); draft
memorandum to Attorney Greenberg (Ober Kaler)
including analysis of defense and counteroffer
for settlement (1.0), review and revise
Trustee’s chart showing new value for Ober
Kaler (.3), update preference chart (.1), and
emails with Attorney Greenberg regarding
extension of response deadline (.1).

Continued attention to preference responses and
resolution, disposition issues and strategies.
Review revisions to settlement agreement
template (.3); draft and review settlement
agreement regarding Niagara Frontier (.5);
draft additional language for template and
revise Niagara Frontier settlement agreement to
include same (.5).

Review and revise template Settlement Agreement
(.5); develop additional release terms for
template Settlement Agreement (.2); create
process for tracking settlements (.1).

Email M. Perla (Niagara) to accept settlement
and update chart (.2); review and assess
Google's preference response, email counsel to
request additional backup information, review
counsel’s response and vet attached contracts,
prepare memorandum of analysis and recommending
NFA to Trustee, and wrap up Google analysis per
Trustee (1.0).

Review and assess preference response from The
Station, including lease terms and alternative
theories of recovery, prepare two memoranda
regarding assessment of The Station’s defenses
and alternative recovery avenues, develop
proposal for settlement, and exchange emails

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14190° Direct Air (Southern Sky Air & Tours, LLC)

11/11/12 JHB 9255

11/12/12 JHB 9255

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with Trustee regarding The Station transfer
analysis (1.4); confirm receipt of response
from Worldwide Flight Services (.1).

Continued attention to preference matters and
resolution strategies.

Continued assessment of preference defenses and
strategies for settlement, NFAs and complaints,
and review related transfer materials.

Further revisions to templates for preference
settlement pleadings.

Telephone call from Attorney Lehrer (McNair Law
Firm) regarding preference response (.1);
telephone call (.1) and email (.1) with
Attorney Komondy (Kalamazoo) regarding NSF
check and deadline extension; review and revise
Graft Settlement Agreement for Niagara (.2) and
email Attorney Perla regarding releases
contained in same (.1); draft email to Attorney
Brown (The Station) demanding return of
transfer as a fraudulent transfer and proposing
settlement (.7) and update chart to reflect
(.1); revise template Settlement Agreement and
correspond with Trustee regarding same (.2);
review and assess Quickflight, Inc.'s
preference response (.2), email Attorney Hales
with summary of assessment and request for
additional information (.3), and update chart
to reflect (.1); review and consider Sheltair
preference response (.2), review Proof of Claim
and calculate potential new value. defenses in
two different ways, in order to compare results
(.8}, research timing of new value defenses in
connection therewith (.2), and prepare
memorandum to Trustee summarizing analysis and
recommending settlement (.3); review and assess
Sun Media response, calculate potential new
value defense, and prepare memorandum to
Trustee recommending NFA based on same (.4);
review and assess Tech Aviation (Niagara Falls
Aviation) response, including assessment of
asserted new value defense by calculating same

. based on attached spreadsheets and

investigation of $40k payment (.6), prepare
letter to Attorney Bartolomei requesting

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14190 Direct Air (Southern Sky Air & Tours, LLC)

additional information about $40k payment (.3),
and prepare memorandum to Trustee regarding
same (.1).
11/13/12 JHB 9255 Continued attention to open preference matters 1.10 423.50
and settlement strategies (.7); revise
settlement stipulation template (.4).
11/13/12 goneil 9255 Exchange memoranda with Trustee regarding 0.40 98.00
courses of action for Sheltair, Sun Media, and
Tech Aviation (.1); assist with preparation of
Sheltair Settlement Agreement (.1); confirm
receipt of counterproposal from Attorney
Komondy (Kalamazoo) (.1); assist with
preparation of approval motion regarding
settlements (.1).
11/13/12 goneil 9255. Email Attorney Salim (Sheltair) to accept 0.30 73.50
settlement proposal (.2) and update chart to
reflect (.1).
11/13/12 goneil 9255 Review in detail second response from Attorney 1.90 465.50
Komondy (Kalamazoo), cross-check response and
confirm no additional payment due to NSF,
calculate various ordinary course scenarios
based on new attached spreadsheets, and
consider settlement strategy in connection with
same (1.3); prepare memorandum to Trustee with
Kalamazoo background and settlement
recommendations (.4); emails with Trustee
regarding strategy (.1); telephone call with
Attorney Komondy with Trustee’s counteroffer

(.1).

11/13/12 goneil 9255 Review letter withdrawing Springfield Airport 0.10 24.50
Authority's administrative claim.

11/13/12 goneil 9255 Review and revise Tech Aviation letter 0.20 49.00
consistent with Trustee’s suggestions.

11/13/12 goneil 9255 Review and assess ZDirect preference response, 0.80 196.00

including to review contract and calculate and
cross-check OCB and new value defenses, develop
recommendations, and prepare memorandum to
Trustee outlining same.

11/14/12 JHB 9255 Continued attention to open preference matters, 1.30 500.50
defenses, responses (,7); revisions to
Settlement agreement template and review
related release, claim issues (.6).

11/14/12 kmdellec 9255 Review revisions to Stipulation of Settlement 3.70 666.00
(Re: Niagara Frontier Transportation
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Chapter 7 Trustee

14190° Direct Air (Southern Sky Air & Tours, LLC)

11/14/12 goneil 9255

11/14/12 goneil 9255
11/15/12 JHB 9255
11/15/12 kmdellec 9255

11/15/12 goneil 9255

11/16/12 JHB 9255

11/16/12 kmdellec 9255

11/16/12 goneil 9255

Authority), forward same to Attorney Perla via

electronic mail and update control sheet (.4);

review final draft of Niagara Frontier
Stipulation and confirm that template conforms
(.6); draft stipulation re: Sheltair (.3);
draft motion to approve stipulations of
settlement (Re: Niagara Frontier and Sheltair)
(1.5); response from Attorney Perla (.1);
revise template for motion to approve to
conform to recent round of revisions to
stipulation template and review same (.8).
Implement Trustee's suggested edits into
template Settlement Agreement, strategize with
Trustee about releases and review Bankruptcy
Code sections on 502(h) claim timing in
connection with same, and further update
Settlement Agreement to reflect (.6);
additional edits to Settlement Agreement (.2).
Revise Niagara Settlement Agreement (.1);
telephone calls and emails with Attorney
Komondy to further settlement negotiations with
Kalamazoo (.5).

Continued attention to preference defenses,
responses and offers.

Blectronic mail from and to Attorney Mary Perla
(Niagara) to request/provide Form W-9 signed by
trustee. ,
Review Aeromotive Ground Support response,
including attached lease documents, and assess
possible fraudulent transfer claim. in
connection therewith (.4); develop
counterproposal and draft memorandum to Trustee
with summary and recommended counterproposal
(.3); prepare letter to Attorney Hagen with
counteroffer (.4); update chart to reflect
analysis (.1).

Continued attention to resolution, complaint
issues and strategies, review underlying
defense materials and transfer details.

Begin draft of stipulation regarding Kalamazoo
preference defendants.

Review and finalize letter to Attorney Hagen
(Aeromotive Ground Support) regarding
counterproposal.

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Joseph H. Baldiga, Chapter 7 Trustee _
Direct Air (Southern Sky Air & Tours, LLC)

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Confer with Trustee regarding status of
settlements (.1); emails with J. Komondy
(Kalamazoo) to settle preference issues (.1)
and follow up regarding preparation of
Settlement Agreement (.2).

Review email from Attorney Dolcourt regarding
PFCs and possible settlement of preference
claim, and update chart regarding same.
Continued attention to preference matters.
Continued attention to defenses, settlement
issues and strategies (.6); research regarding
earmarking, trust funds (.3).

Confer with Trustee regarding possible
PFC/airport defenses.

Continued attention to preference defenses,
responses and settlements.

“Review and revise Sheltair Settlement

Agreement.

Telephone call with Attorney Hagen (Aeromotive
Ground Services) to settle matter regarding
transfer (.2), memoranda with Trustee regarding
same (.1).

Continued attention to defense, settlement
issues and strategies.

Review and assess counteroffer letter from
Attorney Lestikow (Springfield Airport) and
prepare memorandum to Trustee recommending
acceptance (.4), update chart to reflect (.1),
email Attorney Lestikow with Trustee’s
acceptance of counteroffer (.2), and consider
structure of settlement to account for proposed
claim treatment (.2).

Prepare Stipulation of Settlement for Kalamazoo
Airport and Kalamazoo Treasurer.

Continued attention to preference assessment,
defenses and settlement issues and strategies
and review related case materials.

Review and assess USAir preference backup and
consider next steps to address (.2); review in
detail Vox preference response including
attached invoices, consider ordinary course and
new value defenses and develop proposed
settlement, prepare draft email to Attorney
LaMontagne with Trustee's response and

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Chapter 7 Trustee

14190: Direct Air (Southern Sky Air & Tours, LLC)

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settlement proposal, emails with Trustee with

recommendations, and finalize and send response

to Attorney LaMontagne (1.2); review Worldwide
Flight response, including backup invoices,
assess asserted defenses, and prepare
memorandum to Trustee recommending starting
settlement offer (.7); email Attorney Ledwin
(Worldwide Flight) with Trustee’s response and
settlement offer (.5); update chart to reflect
new activity (.2).

Review in detail Progressive Funding Solution
demand letter response, prepare Trustee’s draft
response, consider fraudulent transfer claim
and implications of same in connection with
review, email Trustee with summary of analysis,
and update chart to reflect.

Continued preference/fraudulent transfer
analysis, strategies regarding settlements,
complaints, and review asserted defenses,
proposed responses.

Strategy regarding miscellaneous settlement
agreements and tracking claim issues,

Follow up regarding settlement and preference
matter updates (.2); confer with Trustee
regarding generic settlement terms and motions
to approve same (.2); brainstorm methods for
tracking settlement approval and claim
treatment in Settlement Agreements (.2).
Strategize with Trustee regarding PFS (Wayne
Greene) demands (.1); confirm details of
Sheltair Stipulation with Trustee (.1) and
finalize same for delivery to counsel (.2);
review and revise Kalamazoo Stipulation (.2).
Continued attention to preference settlement;
review and revise draft settlement agreement.
Finalize Kalamazoo Stipulation for Trustee's
review (.1) and prepare final version for
Kalamazoo review (.1).

Continued attention to open preference matters
including review of defenses, settlement
strategies.

Review draft stipulation of settlement
regarding Kalamazoo entities and forward to
Attorney Komondy via electronic mail for

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14190 Direct Air (Southern Sky Air & Tours, LLC)

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11/29/12 goneil

12/03/12 JHB

-2/04/12 JHB

2/04/12 kmdellec

2/04/12 goneil

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signature (.3); review draft stipulation of
settlement regarding Sheltair Aviation and
forward to Attorney Salim via electronic mail
for signature (.3); review file information and
draft, review and revise stipulation regarding
Aeromotive Ground Support (.7); review file
information and draft, review and revise
stipulation regarding Springfield Airport
Authority (.5); update preference tracking
chart as to all (.3).

Review memoranda regarding status of Niagara
settlement payment.

Continued attention to defense assessment,
settlement strategies and agreements.

Review email from Attorney Ledwin regarding
Trustee's settlement proposal (.1); review
email from Xtra Air regarding Response (.1).
Continued attention to preferences including
review of negotiations and agreement revisions,
defense assertions from recipient counsel,
strategies regarding resolutions and
complaints, emails with counsel team.

Continued attention to settlements, proposed
revision to agreements, and counteroffer
strategies.

Track receipt of settlement proceeds from
Aeromotive Ground Support; forward revised
agreement to Sheltair via electronic mail;
review status of outstanding settlement
agreements.

Review and implement Attorney Salim’s requested
edits into Settlement Agreement with Sheltair
(.2), vet amount of transfers and confirm new
value analysis in context of counsel’s request
to eliminate representation regarding same from
Settlement Agreement (.6), and prepare
memorandum to Trustee regarding same (.1);
review and revise Settlement Agreement, and
finalize same (.1).

.Confirm receipt of settlement amount from

Aeromotive Ground Support (.1); edit draft
Settlement Agreement (.2).

Review and revise draft Settlement Agreement
for Springfield Airport Authority.

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Direct Air (Southern Sky Air & Tours, LLC)

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Analysis, strategies regarding PFC claims and 0.

preference implications, and assess settlement
proposals regarding same (.5); review proposed
revisions to Stipulations regarding same and

related claim allowance, priority issues (.4).

Review and revise Springfield Stipulation (.1); 1.

review and revise Aeromotive Ground Support
Stipulation (.1); confer with Trustee regarding
edits to Springfield and Aeromotive Ground
Support Settlement Agreements and about
preference statistics generally (.3); review
memorandum tracking settlement progress
generally (.1); revise Springfield Settlement
Agreement consistent with Trustee suggestions
(.2); revise Aeromotive Ground Support
Settlement Agreement consistent with Trustee
suggestions (.2).

Emails with Attorney Catuogno (Resort Quest) 0.

regarding response and update chart to reflect
(.1); edit chart (.2).

Emails with Attorney LaMontagne (Vox) regarding 0.

status of settlement offer and update chart to
reflect. ,

Revisions to settlement stipulations (2x), 1.

continue assessment of defenses, settlement
strategies and related review of transfer
materials.

Review stipulations and forward to counsel for 0.

Springfield Airport Authority and Aeromotive
Ground Support via electronic mail; update
control chart accordingly; letter to M. Hagen
enclosing voided settlement check regarding
Aeromotive Ground Support.

Review and revise Springfield Airport Authority 1.

Stipulation (.2); finalize Springfield Airport
Authority Stipulation for Trustee review (.1);
emails with Trustee regarding same (.1); attend
to returned mail from Miami Airlines and update
chart regarding same (.1); finalize Aeromotive
Stipulation for Trustee review (.1); review
memorandum regarding unacceptable check from
Aeromotive Ground Support and update
Stipulation to reflect (.2); confirm receipt of
Niagara Stipulation and check and prepare

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Direct Air (Southern Sky Air & Tours, LLC)

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12/11/12 goneil 9255

memorandum regarding same (.1); attention to
Motions to Approve (.2).

Continued attention to preference defenses,
analysis and agreement terms and timing.
Telephone call from Attorney Komondy
(Kalamazoo) to request additional time to
request approval of stipulation; electronic
mail to Attorney Komondy to provide extension;
update control sheet accordingly.

Update control sheet regarding current status
of Aeromotive Ground Support and Niagara
Frontier; attention to Niagara settlement
check.

Telephone call from Attorney Komondy
(Kalamazoo) requesting additional time to sign
Stipulation (.1); memorandum to Trustee
regarding same (.1).

Confirm receipt of check and execute Settlement
Agreement (.1); memorandum regarding same (.1).
Review status of demand responses.

Continued attention to preference issues,
revisions and negotiations.

Update control sheet as to payment received
from Sheltair (.1); draft approval motion
regarding stipulations with Niagara, Sheltair,
Springfield Airport Authority and Aeromotive
Ground Support, motion to limit notice and
certificate of service (3.0); review and revise
all (.3); confirm service list and additional
revisions to motion to approve and motion to
limit (.4)..

Review MA state fraudulent transfer rules,
State of Financial Affairs, and transfer charts
to deterimne potential liability of Progressive
Funding Solutions (.4); revise response and
counteroffer to PFS to reflect fraudulent
transfer claim, and prepare same in letter
format (.7); memorandum to Trustee with new
augmented PFS analysis (.1); update chart to
reflect PFS analysis (.1); revise and finalize
response letter to PFS and attend to formatting
and delivery of same (.3).

Edit generally updated preference chart (.2);
review analysis and Trustee’s suggestions

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14190 Direct Air (Southern Sky Air & Tours, LLC)

regarding Garofalo Goerlich Hainbach response
and prepare reply to defendant outlining
analysis and settlement offer (1.3); memorandum
to Trustee regarding Garofalo Goerlich Hainbach
reply and update chart to reflect same (.2).

12/11/12 goneil 9255 _ Review Proof of Claim and response from the 1.00 245.00
Port Authority of NY & NJ and assess preference :
defenses in context of contradictory Proof of
Claim (.4); prepare memorandum for chart’
regarding analysis (.2); prepare draft reply to
counsel (.3); prepare memorandum to Trustee
with analysis and recommended reply (.1).

12/12/12 JHB 9255 Continued attention to settlements, offers, 0.40 154.00
defense responses and analysis.
12/12/12 kmdellec 9255 Discuss status of preference settlement 0.50 90.00

agreements/funds received and next steps for
potential complaints (.2); attention to signed
stipulation and settlement check from Attorney
Hagen regarding Aeromotive Ground Support and
update control chart (.3).
12/12/12 kmdellec 9255 Final review of settlement motion and service 1.20 216.00
list (.8); electronic mail to and from J.
Lestikow to confirm his receipt of draft
stipulation and calendar ahead (.2), electronic
mail to and from D. Kee to request status of
settlement check and update control sheet (.2).
12/12/12 goneil 9255 Review memoranda from Trustee regarding replies 0.60 147.00
to Garofalo Goerlich and Port Authority of NY &
NJ, and follow up regarding same (.2); review
and edit reply letter to Garofalo Goerlich
(.1); follow up regarding outstanding
Settlement Agreement (.1); follow up regarding
outstanding Massport funds (.1); review email
from counsel to Worldwide Flight regarding
status of response and update chart to reflect

same (.1).

12/12/12 goneil 9255 Develop plans for preparation and timing of 0.10 24.50
Complaints. ,

12/13/12 JHB 9255 Continued preference work on defense responses, 0.40 154.00
settlements, related procedures and parameters.

12/13/12 goneil 9255 Emails with Attorney LaMontagne (Vox) further 0.10 24.50
extending response deadline. ,

12/13/12 goneil .9255 Follow up regarding status of outstanding 0.10 “24.50

Settlement Agreements.
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14190 Direct Air (Southern Sky Air & Tours, LLC)

12/13/12 goneil 9255

12/14/12 JHB 9255

12/17/12 kmdellec 9255

12/17/12 goneil 9255

12/18/12 JHB 9255

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12/19/12 JHB 9255

12/19/12 kmdellec 9255

12/19/12 goneil 9255

12/20/12 JHB 9255

12/20/12 kmdellec 9255

12/20/12 kmdellec 9255

Attention to draft settlement approval motion,
review local rules regarding settlements and
consider implications and procedures for same,
and memoranda with Trustee regarding settlement
approvals.

Continued review of settlement, response issues
and strategies

Electronic mail to M. Hagen (Aeromotive Ground
Support) to confirm receipt of settlement check
and signed stipulation and to provide copy of
fully executed stipulation.

Review memoranda regarding Aeromotive Ground
Support settlement materials; cross-check and
execute Aeromotive Ground Support Settlement
Agreement.

Continued attention to preference responses and
settlements.

Review status of preference matters.

Review open settlement, complaint issues and
emails and related strategies.

Review status of outstanding
stipulations/settlement proceeds and report
same.

Receive and review Stipulation package from
Springfield Airport Authority, execute
Stipulation, and prepare memorandum regarding
same (.2); revise response to The Port
Authority of NY & NJ to reflect Trustee’s edits
and addition of settlement offer, and format
same into letter (.4); update chart (.1); email
counsel to The Station to follow up on
outstanding settlement offer, and update chart
to reflect (.2).

Continued attention to preference issues and
strategies regarding complaints, settlements,
defenses responses.

Receipt of settlement proceeds and signed
Stipulation regarding Springfield Airport
Authority; attention to deposit, update control
sheet and letter to Attorney Lestikow enclosing
signed original of Stipulation.

Forward copy of fully executed Stipulation
regarding Sheltair to Attorney Salim via
electronic mail.

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Review email from Attorney Brown (The Station)
regarding preference response, assess asserted
collectability issues, respond with suggestions
to address, and update chart to reflect.

Review open complaint, settlement issues and
next steps.

Attention to updates for Motion to Approve
Settlement Agreements. .

Update chart to reflect receipt of further
response from Garofalo Goerlich.

Review draft of approval motion and strategy
regarding filing and: service.

Emails with counsel to Sheltair regarding
Settlement Agreement and approval (.2); follow
up regarding Sheltair Settlement Agreement
(.1).

Review and substantively revise Motion to
Approve Settlement Agreement for Niagara,
Sheltair, Springfield and Aeromotive (1.4);
review revised Motion to Approve Settlement
Agreements and re-format same (including for
use as template for future settlement
approvals) (.6); cross-check details of
defenses and four settlement agreements against
descriptions in Motion (.6); finalize Motion to
Approve Settlement Agreements for Trustee
review and email Trustee regarding same (.2).
Revise settlement motion (multiple
settlements), review underlying settlement,
defense materials.

Review Pacer docket and confirm current service
list (.8); revise certificate of service and
assist with finalizing and e-filing of approval
motion and stipulations (1.2); review and
revise service list to conform to motion to
limited notice (.5).

Finalize Motion to Approve Settlement
Agreements for filing (.2); review and revise
Motion to Limit Notice, including to consider
issues regarding notice (.7); assist with
Certificate of Service (.1); prepare and
finalize package for filing (.4).

Final review of certificate of service and
service list in connection with approval motion

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14190 Direct Air (Southern Sky Air & Tours, . LLC)

for preference settlements; coordinate service

: of same.

12/31/12 goneil 9255 Review and execute Certificate of Service 0.10 24.50
regarding settlement package.

01/02/13 JHB 9255 Further analysis regarding defenses, 0.40 154.00
resolution.

01/02/13 kmdellec 9255 Electronic mail from and to Attorney Kee at MA 0.10 18.00
Port Authority to confirm payee on settlement
check.

01/02/13 goneil 9255 Review memoranda regarding Massport settlement 0.40 98.00

check (.2); telephone call with Attorney Perla
(Niagara) regarding Stipulation and proofs of
claim (.2).
01/03/13 goneil 9255 Confirm receipt of response from Attorney 0.10 24.50
Ledwin (Worldwide Flight Services) and update
chart to reflect.

01/04/13 JHB 9255 Review additional defense responses and 0.30 115.50
strategies to resolve (preferences).
01/04/13 goneil 9255 Telephone call with Attorney Frazier regarding 0.50 122.50

preference response and update chart to reflect
(.1); confirm receipt of Massport check and
attend to related matters including closure of
Massport file (.3); telephone call from
Attorney Macoccia (Port Authority of NY & NJ)
regarding extension request and update chart to
reflect (.1).

01/08/13 JHB 9255 Review further responses, defenses, 0.30 115.50
correspondence and related settlement issues.
01/08/13 kmdellec 9255 Electronic mail from Attorney Komondy regarding 0.10 18.00

status of settlement check and agreement;
calendar for receipt of check (Re: Kalamazoo

Airport).
01/08/13 goneil 9255 Review email from Attorney Komondy (Kalamazoo) 0.10 24.50
. regarding settlement approval.
01/10/13 kmdellec 9255 Attention to updates to tracking chart 2.50 450.00

regarding Massachusetts Port Authority, Niagara
Frontier, Aeromotive Ground Support,
Springfield Airport Authority, Sheltair
Aviation Services & Kalamazoo Airport (1.3);
draft approval motion, motion to limit notice
and certificate of. service regarding Kalamazoo
settlement (1.2).
01/11/13 kmdellec 9255 Review and revise stipulation, approval motion, 0.60 108.00
motion to limit notice and certificate of
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Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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service (Re: Kalamazoo Entities).

Review Court’s order approving Limited Notice
for Stipulation Approval (.1); emails with
Attorney Trache regarding Swissport response,
update chart, and follow up regarding same
(.2).

Address issues related to Kalamazoo check with
unacceptable payment address; develop
alternatives for timing of Stipulation approval
(.1).

Track order on motion to limit notice regarding
stipulations.

(Re: Kalamazoo) Telephone call from Attorney
Komondy regarding delay in settlement check;
revise stipulation and motion to approve to
provide for payment of settlement amount within
ten days of entry of final order approving
stipulation; review same.

Further assessment regarding asserted defenses.
Finalize revised stipulation of settlement and
motion to approve and red~lined version of
stipulation; forward to Attorney Komondy for
review and signature.

Review open issues, additional responses
regarding preference matters and devise
settlement strategies.

Receipt of signed revised stipulation from
Attorney Komondy; finalize Kalamazoo settlement
pleadings for review and signature by trustee;
confirm service list; attention to trustee’s
suggested revisions; finalize for service.
Update control chart regarding approval orders
for Niagara Frontier, Springfield Airport
Authority, Sheltair Aviation Services and
Aeromotive Ground Support and forward copies of
order via email to respective counsel for each;
update control sheet as to filing of Kalamazoo
settlement pleadings; organize file as to all.
Review and revise new Kalamazoo Stipulation of
Settlement (.3); review and revise associated
Motion to Approve (.3); update chart (.1);
finalize new Kalamazoo Stipulation package and
address notice issues in connection with same
(.2); confirm receipt of Kalamazoo signatures,

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14190 Direct Air (Southern Sky Air & Tours, LLC)

and execute Kalamazoo Stipulation and Motion to
Approve (.2); review and revise Motion to Limit
Notice (.2); review and revise Certificate of
Service and service list (.2).

01/24/13 goneil 9255 Review and address Court's Order approving 0.10 24.
Niagara, Sheltair, Springfield, and Aeromotive
Stipulations.

01/25/13 kmdellec 9255 Letter to accountant enclosing Form 1099 (re: 0.10 18.
Niagara Frontier Transportation Authority) .

01/25/13 kmdellec 9255 Track receipt of signed revised stipulation 0.10 18.
from Attorney Komondy (re: Kalamazoo) .

01/25/13 goneil 9255 Review and execute final Kalamazoo Stipulation 0.10 24.
approval package.

01/28/13 goneil 9255 Confirm receipt of executed Kalamazoo _ 0.10 24,
Stipulation.

01/30/13 kmdellec 9255 ‘Review status of remaining preference demands; 0.40 72.

strategy regarding next steps to move forward
with recoveries.

02/01/13 JHB 9255 Review open settlement issues and next steps. 0.20. 77.
02/01/13 goneil 9255 Confirm receipt of settlement check from 0.10 24.
Kalamazoo entities; draft memorandum regarding
same.
02/04/13 JHB 9255 Review open preference matters and next steps 0.30 115.

to resolve.

02/04/13 kmdellec 9255 Track receipt of settlement amount regarding 0.10 18.

Kalamazoo; update control sheet accordingly.

02/07/13 kmdellec 9255 Track order allowing motion to limit notice 0.40 72.

(Re: Kalamazoo); review control sheet to ensure
accuracy as to current status.

02/19/13 kmdellec 9255 Forward copy of order approving stipulation of 0.20 36.

settlement to Attorney Komondy (Re: Kalamazoo) ;
confirm receipt of settlement proceeds; update
control sheet accordingly.

02/19/13 goneil 9255 Review and address Court’s Order approving 0.10 24.

Kalamazoo Stipulation.

02/25/13 goneil 9255 Confer with Trustee and Attorney Mirick about 0.30 73.

upcoming litigation strategy.

03/20/13 goneil 9255 Telephone call from McNair Law Firm regarding 0.10 24,

preference demand.

03/24/13 JHB 9255 Review additional preference, insider issues 0.30 115.

and next steps.

03/25/13 JHB 9255 Further review of open recovery matters and 0.30 115.

devise next steps.

06/26/13 goneil 9255 Telephone call from counsel to Port Authority 0.10 24,

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14190 Direct Air (Southern Sky Air & Tours,. LLC)

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of NY & NU regarding preference response.
Discussion regarding status of preference and
next steps. :

Review demand response and counter offer
strategies.

Review and assess preference demand response
from the Port Authority of NY & NJ, including
to review Proof of Claim and backup invoices
and to calculate payment timing (.5); develop
counterproposal and prepare response to Port
Authority (.8); email Trustee regarding same
(.1); and update chart to reflect (.1).
Discussion regarding preferences and chart.
Review current status of Sky King bankruptcy
case; report results.

Review open preference matters and next steps.
Follow up regarding preference charts.
Telephone call to L. Marcoccia (Port Authority
of NY & NJ) and follow up with preparation of
faxed letter.

Edit correspondence to The Port Authority of NY
& NJ; finalize fax, and update chart regarding
same.

Review McNair Law Firm preference defenses,
email Attorney Weaver to request backup, and
update chart to reflect (.6); additional
correspondence with Attorney Weaver regarding
documentation of McNair Law Firm’s defenses
(.2).

Further analysis regarding open preference
matters.

Discussion regarding status of demands and
responses.

Analysis regarding open preference matters,
next steps for non-responses.

Confer with Trustee regarding preference
claims.

Compile information for preference demands to
which no responses were received.

Review preference response of Wyvern Hotel,
including to assess ordinary course defense
(.3) and calculate potential new value defense
(.9); commence recommendation and response
regarding same (.2).

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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Analysis regarding open preference matters.
Confer with Trustee regarding preference
responses.

Review materials for which no response
received.

Emails with Attorney Weaver to follow-up on
documents requested from McNair Law Firm (.2);
review materials and email Attorney LaMontagne
to follow-up on response from VOX (.2);
follow-up on Sun Media matter to confirm NFA
(.1); email Attorney Ayoub to follow-up
regarding Allegheny County Airport response
(.2); review and assess Clinton County
Treasurer Proof of Claim in context of demand
recipient’s failure to response (.2); review
and assess FedEx Proof of Claim and possible
defenses in context of demand recipient's
failure to respond (.1); assess Global Pay
position in context of demand recipient’s
failure to respond (.2); assess Oak Street
Investment position in context of demand
recipient’s failure to respond (.1); asssess
OIR Interactive position in preparation to
recommend NFA to Trustee (.1); confirm NFA
regarding Z Direct and update chart to reflect
(.1); email Attorney Brown regarding The
Station’s position, in context of failure to
respond to Trustee’s previous settlement offer
(.2); revise and update Preference Chart for
all matters (.3).

Review multiple preference matters and
determine next steps, grounds for complaints or
no further action (.8); review related emails
with transferees (.2).

Review status of multiple preference demands,
including Airport Terminal Services, Aviation
Advantage, Carribean Sun Airlines, Garofalo
Goerlich, Horry County, Miami Air Lines, etc.
(.7); email Attorney Kelley to inquire about
status of Hilton Garden Inn response (.1);
confer with Trustee about no further action for
Clinton County Treasurer and FedEx (.2); review
status of multiple preference demands including
Sun Media, Sun News, Swissport, Resort Qwest,

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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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Tech Aviation, Vision, Worldwide, etc. (.4);
draft letter to Attorney Bartolomei for Tech
Aviation c/o Niagara Falls Aviation following
up on previous request for information about
property of estate, edit and finalize and send
letter, and update chart regarding same (.5);
review and access North American Airlines
response, check company’s Chapter 11 docket and
assess current status of case, including
nominal distribution to creditors, recommend
NFA and update chart regarding same (.6).
Confer with Trustee about filing Complaints v.
The Station, Progressive Funding, Miami
Airlines, Global Pay, Fairfield Inn, and
Allegheny County Airport Authority, and
strategize and plan for next steps to file
Complaints (.8); attend to next steps for
preparing Complaints for six defendants,
including to email Verdolino & Lowey for
backup, to update chart, and to prepare
memorandum with instructions (.6).

Review additional preference issues and files
and determine next steps (.3); review and
revise complaint template (.2)

Review email from Attorney Weaver with further
preference response for McNair Law Firm (.1);
update chart regarding all entries (.1).

Review Trustee’s revisions to Complaint
template (.1) and make additional edits to same
(.3).

Emails with Verdolino & Lowey team regarding
backup documents for preference matters; attend
to recovery of backup documents.

Review additional preference matters, assess
defenses and devise strategies for next steps.
Review TNCI preference file in preparation to
make recommendation to Trustee (.7) and
telephone call with Trustee regarding potential
administrative claim request in TNCI case (.3);
review Quickflight (.1) and Miami Air (.1)
preference files in preparation to discuss
timing of possible Complaints with Trustee;
review and edit chart (.2); review new value /
retainer invoice backup from McNair Law Firm,

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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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JHB 9255

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calculate likely remainder of deposit and email
Attorney Weaver to inquire about same, and
develop recommendation to Trustee for
counteroffer (.9); update chart (.1); telephone
call with Attorney Weaver regarding McNair Law
Firm exposure, negotiate proposed settlement
amount, email Trustee with summary of proposal,
review approval message from Trustee, and
update chart to reflect (.8); review and assess
preference response from Airport Terminal
Services, including to identify additional
preference payments and to calculate ordinary
course analysis, and commence email to ATS’s
counsel regarding same (1.0).

Meet with G. O’Neil to review several
preference files and devise next courses of
action, ,

Prepare for meeting (.3) and meet with Trustee
to strategize regarding preference actions,
including reviews of EIN, TNCI, North American
Airlines and McNair Law Firm preference
subfiles (.5); update chart to reflect meeting
results and action items (.2); email Attorney
Weaver (McNair Law Firm) to accept settlement
and attend to preparation of settlement package
(.3),

Review file information and draft stipulation,
approval motion, motion to limit and
certificate of service (McNair Law Firm);
review and revise same.

Follow-up regarding McNair settlement (.1);
attention to production of settlement pleadings
for McNair Law Firm (.1).

Review additional preference files, evaluate
and approve proposed settlements.

Attention to conflict search; review file
information; on-line search regarding Global
Payments, Inc.; prepare adversary complaint and
exhibit; review and revise same; draft
adversary proceeding cover sheets regarding The
Station, Global Payments, Fairfield Inn and
review and revise same.

Draft preference response to Attorney Engel
(Airport Terminal Services) outlining ordinary

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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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course and new value analysis, including to do
additional analysis and calculations in
connection with same (1.2), email Trustee
regarding same (.1), modify message to reflect
Trustee’s suggested edits and send to Attorney
Engel for review (.2), and update chart
regarding same (.1); research EIN "insider"
status including emailing Debtor’s counsel to
inquire about same (.3); review US Airways
preference matter and email Attorney Soares
with backup information (.4); review Wyvern
Hotel preference materials (.2).

Review and edit preference chart (for active
matters) and new chart for "NFA" preference
matters, and re-format same; review status of
all matters in connection with review

Review and edit settlement package with McNair.

Law Firm, including Stipulation of Settlement,
Motion to Approve, Motion to Limit Notice,
proposed Orders, Certificate of Service, and
service list, and review Bankruptcy Code
provisions regarding turnover of estate
property in connection with same (1.2); review
and finalize settlement package (.2); email
Stipulation of Settlement to Attorney Weaver
for review (.2); confer with Trustee regarding
contents of Stipulation and Motion (.1) and
update chart to reflect (.1).

Review additional preference matters and
determine next steps.

Review revisions to McNair settlement
pleadings.

Assist with preparation and format of
Complaints, including The Station Complaint
(.2).

Review additional preference matters, emails
and settlement, complaint strategies.

Review status of draft Complaints and consider
exhibits and Adversary Proceeding cover sheets
(.2); review status and timing of outstanding
responses and information for all remaining
preference matters (.2).

Telephone call from Attorney Bartolomei (Tech
Aviation) (.1), prepare for call and telephone

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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call with Attorney Bartolomei regarding
circumstances of $40K payment (.5), email
Trustee, update chart, and follow-up regarding
same (.4).

Review status of additional Complaints.
Review, revise, and execute Certificate of
Service regarding Claim Form.

Review and assess Worldwide Flight Services’
second response and settlement offer, identify
potential discrepancy regarding payment
spreadsheets provided, email Attorney Ledwin to
request referenced payment spreadsheet, and
update chart regarding same (.7).

Review and revise Fairfield Inn Complaint,
including to review and assess Fairfield Inn
ownership and service issues associated with
same (1.2); review and revise Fairfield Inn
Adversary Proceeding cover sheet (.1).

Review status of Allegheny County Airport
Authority response (.1); review status of Vox,
Hilton, and Port Authority preference matters
(.1).

Review and revise Global Pay Complaint,
including to assess service issues and consider
potential Third Demand Letter prior to filing
(.4); review and revise Global Pay Adversary
Proceeding cover sheet (.1).

Review additional preference files, settlement
strategies and grounds for complaints.

Review additional preference matters,
resolution strategies,

Follow-up regarding Wyvern Hotel analysis (.1);
review and track email response from Attorney
Ledwin (Worldwide Flight) (.1); email Attorney
Braunstein to follow-up on request for
information about EIN insider designation (.1);
email M. Whitehouse to request Miami Air
International backup and follow-up with
memorandum regarding Miami Airlines v. Miami
Air International (.2); memorandum to Trustee
regarding Complaints and other subfiles to
review (.2).

Review additional preference files and
determine next steps (Wyvern settlement,

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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Quickflights complaint).

Attend to review of preference masters and
chart revisions (.1); planning regarding
Complaint filing and additional responses (.1);
review memorandum from Trustee regarding
analysis of Complaints and preference matters
(.1).

Continued review of preference files, complaint
and resolution strategies.

Review and assess counteroffer from counsel to
Airport Terminal Services, update chart, and
email Trustee with recommendation for response.
Continued review of preference matters and
strategies.

Review and track email from Attorney Weaver
(McNair Law Firm) with revised proposed
Settlement Agreement, consider response and
additional edits, and exchange emails with
Trustee regarding same (.3); edit Stipulation
and email same to Attorney Weaver for review |
and signature (.3); update chart regarding same
(.1); edit McNair Stipulation (.2).

Draft email to Attorney Engle (Airport Terminal
Services) rejecting. counteroffer and requesting
additional information or original settlement
(.9), update chart regarding same (.1), and
exchange additional emails with Attorney Engel
regarding clarification of counteroffer (.2).
Multiple preference files review.

Follow-up regarding status.of preference
responses.

Continued attention to open preference matters
and resolution, complaint strategies.

Check status of Alleghany, Global Pay, and ATS
responses (.1); Update chart and review status
of other matters (.2).

Continued attention to multiple preference
files, and assess insider preference matters.
Two emails with Attorney Ledwin (Worldwide
Flight) to follow-up regarding spreadsheet
(.2).

Strategize with Trustee regarding pursuit of
insider transfers.

Review additional preference files and devise

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14190 Direct Air (Southern Sky Air & Tours, LLC)

settlement, complaint strategies (.3); review
insider transfer. materials and devise complaint
grounds for FT and preference counts,
injunction motion (.7).

09/16/13 goneil 9255 Review status of responses including next steps 0.60 153.

(.1); two telephone calls with Attorney
Marcoccia (Port Authority of NY and NJ) to
follow-up on her response (.2); update chart
(.1); follow-up regarding status of McNair
Stipulation (.1); request backup from Verdolino
& Lowey for EIN payments (.1).

09/16/13 goneil 9255 Review complete payment spreadsheet from P. 0.10 25.

Bley and match against preference spreadsheet;
review email to P. Bley regarding same.

09/17/13 JHB 9255 Review additional preference files, strategies 0.30 117.

for next steps; strategies regarding insider
preference pursuit.

09/17/13 goneil 9255 Review email from P, Bley regarding updating 0.40 102.

preference spreadsheets (.1); track Complaints
and other preference response statuses (.1);
review information about final flight date

(.1).

09/18/13 JHB 9255 Continued strategizing regarding grounds for FT 0.60 234.

and preference complaints v. insiders.

09/18/13 goneil 9255 Strategize regarding intersection of 0.20 51.

Investigation and preference matters; including
to develop next steps to research transfer
recipient backgrounds.

09/19/13 JHB 9255 Further preference file review. 0.20 78.
09/23/13 JHB 9255 Review additional preference files and 0.40 156.
strategies for complaints, resolution.

09/23/13 JHB 9255 (Port Authority) Review response, underlying 0.30 117.

transfer, defense materials, and devise final
offer.
09/23/13 goneil 9255 Telephone call from L. Marcoccia (Port 0.40 102.

Authority of NY & NJ) with updated offer (.1),
review matter to assess new offer (.1), and
develop counteroffer with Trustee (.1); review
message from M. Whitehouse regarding backup
documents for Hilton Garden Inn and EIT
Management (.1).

09/24/13 goneil 9255 Review letter from Attorney Weaver attaching 0.90 229.

executed Stipulation (.1); attend to execution
of Stipulation and tracking of funds received

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Joseph H. Baldiga,

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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(.2), revise Motion to Approve (.3), Motion to
Limit Notice (.1), and Certificate of Service
(.1) to conform to final Stipulation, and email
Attorney Weaver with fully-executed Stipulation
and information regarding approval (.1).
Finalize and execute McNair Law Firm
Stipulation approval package for filing.
Consider insider status of EIT based on
interviews with J. Tull and K. Ellison.

Follow-up regarding McNair Stipulation package

(.2); review status of multiple preference
matters and responses (.1.

Assist with analysis and strategy regarding
fraudulent transfers based on new updated chart
from Verdolino & Lowey.

Review assorted preference matters, strategies
for resolution, complaints.

Track receipt of settlement funds and efiling
of stipulation of settlement and approval
motion (re: McNair Law Firm).

Review additional preference matters and
related settlement strategies.

Review and analyze new payment spreadsheet and
assess Worldwide Flight defenses in connection
with same.

Review open preference matters and materials
including strategies regarding insiders.
Continued strategy discussion regarding pursuit
of insider avoidance actions, implications
regarding short fall investigation and pursuit.
Review insider transfer materials, strategies.
Continued attention to preference issues,
settlement strategies.

Continued attention to preference matters and
resolution strategies, defense review; revise
response to Ober.

Emails with Verdolino & Lowey regarding
Quickbooks administration; confirm user name
and password access.

Review issues and strategies regarding insider
avoidance actions.

Review Tech Aviation preference status and
consider next steps (.1); review Airport
Terminal Services status and email Attorney

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Engel for update and counterproposal and
authority to accept service (.1); review status
of Vox FM and USAir preference responses (.1);
review status of various additional preference
responses and identify next steps to move
forward (.2); update preference chart to
reflect new updates (.2).

Review Court’s Order approving McNair
Stipulation (.1).

Review Court’s Order approving McNair
Stipulation.

Continued review of preference materials and
strategies.

Review McNair Stipulation to confirm no further
action required, email copy of Order approving
Stipulation to Attorney Weaver, and wrap up
subfile (.2); update preference chart (.1);
emails with Attorney Engel (ATS) regarding
negotiations and conference call (.1).

Review additional materials regarding insider
transfers, recovery grounds and strategies.
Continued attention to various preference
matters, strategies regarding settlement,
complaints.

Telephone call with Attorney Engel (ATS)
regarding preference negotiations (.3) and
update chart to reflect (.1); follow up
regarding outstanding preference matters (.2).
Review and assess Worldwide Flight preference
response materials (.4), develop and draft
proposed reply with counteroffer and reasoned
summary of ordinary course of business defense
analysis (.8), email Trustee regarding same
(.2), and review Trustee’s response with
suggestions to augment reply (.1).

Continued review of open preference matters,
resolution strategies.

Track order allowing McNair stipulation.
Revise and send emails to Attorney Ledwin
(Worldwide Flight) and update chart to reflect
(.2); review Attorney Ledwin's response
regarding new value assessment (.1); review
email from Attorney Engel (ATS) with analysis
and counterproposal (.1).

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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190. Direct Air (Southern Sky Air & Tours, LLC)

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Review status of preference matters.

Review message from Attorney Ledwin (Worldwide
Flight) regarding status of response.
Continue review of open preference matters, and
strategies for settlement, complaints; review
of underlying transfer and defense materials.
Assess Airport Terminal Services’ new "mirror
period" OCB defense and investigate prior
payment history to rebut much of same and to
develop appropriate potential counteroffer
(1.1); confer with Trustee regarding ATS's
"mirror period" OCB defense and potential
counteroffer (.2); draft email-to Attorney
Engel with counteroffer, rationale, and figures
supporting same (1.2); track response deadline
and update chart to reflect ATS status (.1).
review and assess Vision Airlines preference
response and related backup (.4); identify
possible discrepancy regarding Vision Air
numbers and email P. Bley for clarification
(.2); update chart with Vision Airlines
assessment (.1).

Review and assess Resort Quest preference
response, recommend NFA, and update chart to
reflect.

Review and assess Vision Airlines preference
response and related backup (.4); identify
possible discrepancy regarding Vision Air
numbers and email P. Bley for clarification
(.2); update chart with Vision Airlines
assessment (.1).

Review and assess. Resort Quest preference
response, recommend NFA, and update chart to
reflect.

Review and assess Vision Airlines preference
response and related backup (.4); identify
possible discrepancy regarding Vision Air
numbers and email P. Bley for clarification.
(.2); update chart with Vision Airlines
assessment (.1).

Review status of negotiations with The Port
Authority of NY & NJ and email Attorney
Taylor-Finucane with brief summary and
counteroffer (.3); update chart (.1); review

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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response from Attorney Taylor-Finucane and
prepare mail correspondence as directed (.1).
Review, revise, and finalize counteroffer
letter to Attorney Finucane (Port Authority of
NY & NJ).

Strategies to recover on default judgments, and
review open preference matters.

Attention to updating chart.

Assess ATS’s new counteroffer and prepare
recommendation for Trustee.

Confer with Trustee regarding ATS counteroffer
(.1); prepare email response to Attorney Engel
regarding ATS (.6); review previous new value
computations and re~consider counteroffer based
on same (1.1).

Review open preference matters and devise
resolution, complaint strategies.

Continued review of ATS’s new value in
preparation to discuss with Trustee (.4);
confer with Trustee regarding new value and
revised offer (.1); augment and send emails to
Attorney Engel with revised offer (.4); update
chart (.1).

Continued preference review, settlement
strategies and defense analysis.
Review/organize file information regarding
preference demands.

Review Attorney Engel’s counteroffer (ATS),
emails with Trustee to assess same; update
chart to reflect, and respond with firm offer.
Review preference settlement proposals, devise
response strategies, review underlying transfer
materials (.6); OCB defenses (.3).
Review/organize file information regarding
preference demands.

Further analysis, transfer review, devise
strategies regarding possible insider
preferences, FTs.

Discussion regarding claims against founders
and others and review prior history.

(Re: Airport Terminal Services) Draft
stipulation and review/revise same (.7); draft
approval motion, motion to limit and
certificate of service regarding all and review

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Chapter 7 Trustee

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service list, review and revise settlement
pleadings (x2) (1.5).

Review strategy email regarding non-founder
insider preference actions.

Emails with Attorney Engle regarding settlement
of ATS preference matter.

Assist with preparation of Stipulation with
ATS.

Review and revise Stipulation of Settlement
with ATS, including to check for claims filed
by ATS.

Review and assess Caribbean Sun Airlines (World
Atlantic Airlines) preference response,
including to assess OCB and new value defenses
(.9); update chart with summary of analysis
(.1).

Review open preference matters, next steps to
complaints, resolutions.

Attend to revisions to stipulation and review
same. |

Review revised ATS Stipulation, email same to
Attorney Engel for review, and update
preference chart to reflect.

Continued attention to open settlement issues
and strategies on open preference matters.
Edit preference chart.

Review multiple open preference matters and
devise complaint, settlement and NFA
strategies, and review underlying transfer and
defense materials.

Prepare for meeting (.4) and meet with Trustee
to discuss next steps to address preference
demands for: Ober Kaler, Wyvern Hotel, Port
Authority of NY & NJ, U.S. Air, Resort Quest,
Carribean Sun Airlines/World Atlantic Airlines,
Vox AM/FM, and Hilton Garden Inn (.8);
attention to wrap-up of Carribean Sun Airlines
file (.1); update/edit preference chart (.2).
Review pacer docket and obtain contact
information for Donald Stukes/ASI.

Telephone call with Attorney Weaver regarding
identification of client information (.1) and
follow up to investigate and determine
defendant identity issues (.3); confer with

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Trustee regarding same and follow up regarding
reissuance of demand letter to proper entity
(.1).

Review email from Attorney Engel (ATS)
regarding Stipulation status.

Review and revise new Hilton Garden Inn
(Lakeland) demand letter.

Review open preference matters; strategies
regarding insider transfers.

Prepare for preferences meeting with Trustee.
Review open preference matters and related
insider issues.

Review outstanding preference issues,
generally.

Review status of outstanding ATS Stipulation.
Review open preference matters, next steps.
Prepare reply to Attorney Engel (ATS) regarding
his requested edits to Stipulation.

Continue review of open preference matters,
next steps.

Review comments to ATS stipulation and
strategies to resolve (.2); review additional
open preference matters, insider issues (.2).
Revise ATS Stipulation in response to Attorney
Engel‘s suggested edits.

Track email to R. Engel on preference control
sheet (regarding ATS); review template of
complaint regarding insiders and next steps to
move forward with insider complaints.

Email Attorney Engel (ATS) with updated
Stipulation (.2); update chart (.1); review.
response from Attorney Engel regarding
Stipulation (.1).

Further analysis, strategies regarding
avoidance actions v. insiders (.3), review
underlying transfer materials (.3).

Review status of Vision Airlines preference
matter.

(Niagra) Review, revise discovery report.

Re: Airport Terminal Services -Revise approval
motion, motion to limit and certificate of
service to conform to settlement agreement;
review all (x2).

Attention to preparation of Stipulation

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approval motion and related documents (ATS)
(.1); email P. Bley to follow up regarding
Vision Airlines backup (.1).

Review and edit full preference chart,
including to add numerous updates and to review
status and next steps for all outstanding
matters.

Review venue issues for avoidance actions (.2);
analysis, strategies and document review
regarding avoidance actions with insiders (.4).
Review case law interpreting 1409(b) and small
dollar preferences; discussion with trustee
regarding venue issue.

Review research regarding venue for bringing
preference litigation under certain dollar
amount. :

Confer with Trustee regarding general
preference updates.

Emails with Attorney Engel and Trustee
regarding finalized deal and Stipulation
approval for ATS.

Review status of pending settlement, calendar
ahead.

Review various open preference matters, next
steps toward resolution.

Review next steps to address remaining
preferences.

Email Attorney Engel (ATS) to follow up
regarding status of executed Stipulation and
settlement check.

Review and revise Motion to Approve Settlement
Agreement with ATS, including to review
information about defenses and settlement (.6);
review and revise proposed Order (.1); review
and revise Motion to Limit Notice, with
proposed Order (.1); review and revise
Certificate of Service and service list (.1).
Email Attorney LaMontagne (VOX AM/FM) to follow
up regarding response to prior settlement offer
and update chart regarding same (.3); review
Worldwide Flight negotiations status, email
Attorney Ledwin to follow up,.and update chart
regarding same (.3).

Review email from Attorney Engel (ATS)

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14190 Direct Air (Southern Sky Air & Tours, LLC)

regarding status of mailed stipulation and
check (.1); review and further edit Stipulation
/ approval language (.2).

01/22/14 goneil 9255 Review status of Aviation Advantage preference 0.20 51.00
response, including possibility of new transfer
to add to demand (.1); review response from
Attorney Ledwin(Worldwide Flight) regarding
status of preference response (.1).

01/23/14 JHB 9255 Review open preference matters, next steps for 0.30 117.00
complaints (insiders) .
01/23/14 kmdellec 9255 (Regarding Airport Terminal Services) Finalize 0.30 55.50
. settlement pleadings for e-filing and service.
01/23/14 goneil 9255 Confirm receipt of Stipulation and settlement 0.50 127.50

check from ATS (.1); finalize and execute
Stipulation and approval package (.3); email
Attorney Engel regarding same (.1).

01/24/14 JHB 9255 Further analysis, strategies regarding insider 0.30 117.00
actions.
01/25/14 goneil 9255 _ Review and assess Xtra Air’s preference 4.60 1,173.00

response, including to conduct comprehensive
independent analyses of its ordinary course,
contemporaneous exchange, and new value
defenses (3.1) and to research cited cases
regarding its earmarking defense (.3);
investigate accounts receivables related to
Xtra Air from Debtor’s schedules, in connection
with same (.4); develop recommendations for
Trustee based on total analysis (.5); update
chart with defenses and analysis (.3).

01/25/14 goneil 9255 Review and assess Swissport Fueling’s 4.60 1,173.00
preference response, including to conduct a :
comprehensive independent analysis of its
ordinary course and new value defenses and to
cross-check issues and invoices associated with
the new value defense (2.9); calculate average
times between payments for all periods (.7);
develop recommendation for Trustee (.2) and
draft proposed response and settlement offer to

. Attorney Trache (.8).

01/26/14 goneil 9255 Review and revise Stipulation of Settlement 1.20 306.00
with Port Authority of NY & NJ (.4); review and
revise Motion to Approve (.5); review Motion
to Limit Notice (.1) and review and revise
Certificate of Service and service list (.1);
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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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draft cover letter to Attorney Taylor Finucane
enclosing draft Settlement Agreement (.1).
Review and assess Aviation Advantage
preference response materials, including to
confirm flights flown under charter contract,
to conduct ordinary course and new value
analyses under ground services contract, and to
identify Aviation Advantage's possible exposure
related to same (1.2); investigate additional
"Aviation Advantage/Sky King" transfer
designations and seek additional financial
information regarding same (.5); develop next
steps and recommendations for Trustee to
collectively address all Aviation
Advantage-related transfers (.5).

Update chart to reflect ATS settlement
information (.1); review status of preferences
generally (.1).

(Re: Airport Terminal Services) Track order
allowing motion to limit notice.

Review outstanding preference matters and plan
for upcoming statute of limitations deadline.
Confirm and track filing of ATS settlement
package.

Review preference tracking chart as to status
of settlements and demands and update as to
all.

Review Horry County Airport Authority
preference response and research bankruptcy
statutory authority regarding Passenger
Facility charges cited in response (1.2);
update chart regarding same (.1).

Further analysis; transfer review regarding
actions v. insiders.

Continued review of transfer issues and
materials for complaints v. insiders.

Confer with Trustee about general preferences
status and upcoming statute of limitations.
Review Supreme Court’s Beiger case in order to
further develop assessment of Horry County
Airport's defenses.

Analysis, document review regarding Swissport
defenses, settlement proposal and counter
proposal.

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Air (Southern Sky Air & Tours, LLC)

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Review next steps to address and complete all
remaining transfer analysis (.3); identify
potential previously unidentified preference
transferees from newer 4-year lookback chart
(.3).

Review Trustee’s edits to Swissport preference
response.

Review and assess Garofalo Goerlich’s updated
preference response, and develop
recommendations for Trustee based on analysis.
Analysis regarding multiple open preference
matters and devise strategies for settlements
and complaints, review underlying transfer
materials and asserted defenses, research and
analysis regarding passenger facility charges,
trust fund issues.

Review list of transfers requiring back-up
documents in connection with additional demands
and complaints; electronic mail to accountant
to request additional back-up information.
Review email from P. Bley attaching Aviation
Advantage and Aviation Advantage/Sky King
materials.

Prepare for meeting with Trustee about open
preference matters (.6) and meet with Trustee
regarding open preference matters, including
Aviation Advantage, Horry County,
Orlando/Sanford, Garofala Goerlich, and Xtra
Air (.7); follow up with Trustee regarding PFCs
analysis and response to Horry County Airport
Authority (.1); attend to planning and next
steps for all (.3); attention to identifying
all remaining outstanding possible preference
matters and requesting backup from Verdolino &
Lowey for each (.5).

Finalize and send response to Atty. Trache
(Swissport) regarding preference issues (.3);
update chart to reflect same (.1).

Continued review of open preference matters and
next steps for complaints, settlements.

Review next steps to move forward with
outstanding preference matters.

Emails with Atty. Ledwin regarding status of
Worldwide Flight response and update chart

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14190 Direct Air (Southern Sky Air & Tours, LLC)

regarding same.

02/11/14 JHB 9255 Review settlement issues and strategies and 0.30 117.00
: reach settlement (Niagara).
02/11/14 kmdelléc 9255 Attention to set-up of additional task codes 0.10 18.50
for potential adversary proceedings.
02/12/14 JHB 9255 Begin review of updated preference chart, 0.40. 156.00

strategies to ‘resolve open matters and for
insider complaints.

02/12/14 goneil 9255 Attention to editing preference chart and 0.60 153.00
preparations for meeting with Trustee.
02/13/14 goneil 9255 Prepare materials for meeting with Trustee 0.30 76.50

about preference matters (.2); review P. Bley
email with backup for multiple preference
transferees (.1).
02/13/14 goneil 9255 Review and assess Sky King backup information 0.40 102.00
in context of Aviation Advantage preference
response and potential connection between the
two (.3); update chart regarding Aviation
Advantage/Sky King (.1).

02/16/14 JHB 9255 Review updated preference charts, next steps 0.80 312.00
. toward resolution or complaints.
02/17/14 JHB 9255 Review additional open preference matters, 0.70 273.00
devise strategies for complaints, settlements.
02/17/14 goneil 9255 Develop settlement offer and preference 1.90 484.50

response to Aviation Advantage (1.2), prepare
memorandum to Trustee with explanation of same
(.6), and update chart regarding same (.1).

02/18/14 JHB 9255 Continued review of open preference matters and 0.40 156.00
settlement parameters. .
02/18/14 goneil 9255 Follow up regarding Aviation Advantage 0.30 76.50

preference response (.1); follow up regarding
next steps to address remaining outstanding
preference matters (.1); emails with Trustee
regarding same (.1).

02/18/14 goneil 9255 Review response from Atty. Trache (Swissport) 0.20 51.00
regarding preference negotiations.
02/18/14 goneil 9255 Update chart (.1); telephone call with Atty. 0.40 102.00

Ledwin (Worldwide Flight) with settlement offer
(.1); attention to new backup documentation
from Verdolino & Lowey for multiple matters
(.2).
02/18/14 goneil 9255 Develop response and counteroffer regarding 0.60 153.00
Horry County Department of Airports and email
same to Atty. Holcourt (.5); update chart
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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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regarding same (.1).

Continued attention to open preference matters
regarding settlement, complaint parameters and
review related defense materials, emails.
Review materials and draft email to Atty.
Goerlich (Garofalo Goerlich) regarding new
settlement offer (.8) and update chart to
reflect (.1).

Review backup for Casino Air from Verdolino &
Lowey and identify one additional transfer to
add to Xtra Air demand (.4); draft substantive
email to Atty. Fraser (Xtra Air) outlining
Trustee’s response to multiple defenses and
requesting excel spreadsheet to evaluate new
value defense (1.5); update chart regarding
same (.1).

Attention to multiple preference matters
regarding settlement terms, 502(h) claim
allowances, next steps toward resolution and
review counterproposals, asserted defenses.
Consultation with J. Murphy regarding various
corporate/LLC issues regarding Direct Air
litigation.

Review emails from accountant enclosing
supporting information for various preference
complaints and track same.

Strategize regarding timing and logistics of
filing preference Complaints.

Review and assess Swissport’s counteroffer and
supporting analysis, conduct preliminary
research regarding "order of application of
defenses" issues, and draft memorandum to
Trustee with possible response options (.8);
update chart to reflect (.1).

Continued attention to multiple open preference
matters including assessment of defenses,
settlement strategies.

(Re: Airport Terminal Services) - Track order
allowing stipulation of settlement.

Review Trustee’s recommendation and draft
response, with counteroffer, to Atty. Trache
(Swissport) (.5); update chart to reflect (.1).
Evaluate Worldwide Flight counteroffer and
prepare memorandum to Trustee regarding same,

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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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include recommendation for settlement (.5);
update chart to reflect same (.1); email Atty.
Ledwin with Trustee’s counteroffer (.1).
Review Court’s Order approving ATS settlement,
email Atty. Engel with copy of same; confirm
completion of matter, and update chart to
reflect.

Review all non-insider preference matters,
reach settlements and devise complaint
strategies (1.1), related conference calls and
emails with transferees’ counsel (.4).

Follow up regarding ATS settlement completion
(.1); review notice of Chapter 11 Trustee
appointment in Sky King bankruptcy case (.1).
Prepare for meeting with Trustee about
preferences (.1); meet with Trustee and
determine strategy and next steps for all
unresolved preference matters (.8); consider
abandonment of claims for all NFA preference
matters and confer with Trustee regarding same
(.1); attend to wrap-up of NFA files (OIR
Interactive, Oak Street Investments, and Vox)
and update chart to reflect (.2).

Emails with Atty. Ledwin (Worldwide Flight)
regarding settlement terms; attend to
preparation of settlement Stipulation.
Telephone call with Atty. Trache (Swissport)
regarding settlement negotiations (.1); review
and assess his further proposal and email
Trustee regarding same (.1); telephone call and
follow up email with Atty. Trache regarding
revised final offer and related negotiations,
and update chart to reflect same (.2).

In light of pending settlements and upcoming
Statute of Limitations, research Tolling
Agreements and procedures for approval of same.
Continued attention to multiple preference
matters, defense analysis, email negotiations
regarding settlements and devise complaint
strategies, .

Review/determine outstanding settlement
pleadings to be drafted/approved and report
same.

Review next steps to address outstanding

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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preference matters (.2); review and assess
response from Garofalo Goerlich, review
Trustee’s follow up reply, track new deadline
regarding same, and review continued
negotiations emails (.3); telephone calls with
Atty. Dolcourt (Horry County Airport) regarding
preference settlement status, memorandum to
Trustee regarding same, and update chart to
reflect (.3); follow up with P. Bley regarding
Vision Air backup (.1); email Atty. Fraser
(Xtra Air) to follow up regarding spreadsheet
(.1); follow up regarding Worldwide Flight
settlement materials (.1).

Prepare template "demand" emails to JetPay,
AMEX, and Radixx (.7), confer with Trustee
regarding potential preference actions v. these
parties (.1), and finalize and send email
demands to JetPay, AMEX, and Radixx and update
chart to reflect same (.5); confer with Trustee
regarding Tolling Agreements and procedures for
approval of same (.1); attend to preparation of
multiple Complaints (.2).

Compile relevant materials and attend to
preparation of Complaints for Avfuel, Aviation
Advantage, Orlando/Sanford, EIN Management,
Hilton Garden Inn and Xtra Air. ,

Continued attention to preference matters
including negotiations with transferees,
review of defenses, assess settlement,
complaint strategies.

Review memoranda regarding Garofalo Goerlich
preference response (.1).

Continued attention to multiple preference
matters, strategies for resolution and
complaints, and emails with counsel to various
transferees.

Review control sheet as to outstanding
issues/deadlines; update as needed.

Settle multiple preference matters, review open
matters, continued negotiations and devise
complaint strategies.

Review email from Atty. Moorman (Radixx)
regarding status of analysis (.1); review email
from Atty. Trache (Swissport) regarding

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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settlement of matter (.1).

Follow up regarding status of all preference
matters, settlements, and pending Complaints
(.4); confer with Trustee regarding same (.1).
Follow up regarding Settlement Stipulations and
pleadings for Garofalo Goerlich, Ober Kaler,
and Swissport, and update chart with respect to
each,

Continued review of open preference, insider
actions, next steps for settlements,
complaints.

Review Court's Order approving settlement,
track same, and prepare letter to Atty.
Finucane enclosing same.

Draft Tolling Agreement template (.9); review,
revise, and augment draft Tolling Agreement
(.6); finalize Tolling Agreement for Trustee's
review (.3); draft Motion to Approve Tolling
Agreement, including: research into case law and
authority regarding same (2.3).

Confirm receipt of settlement funds from
Garofalo Goerlich and update chart to reflect
(.1); review current outstanding settlement
documents and status of each (.2); confer with
Trustee regarding status of preference matters
and statute of limitations (.1).

Review and assess JetPay preference response,
including to calculate amounts owed and to
consider alternate preference claims v. Merrick
Bank.

Review, revise tolling agreement and motion
(.4); continued attention to open preference,
transfer matters and complaint and resolution
strategies (.6).

Review demand and file information; draft
stipulation of settlement, motion to approve
and motion to limit; prepare certificate of
service and tolling agreement; review and
revise ail.

Review demands and response; draft stipulation
of settlement, motion to approve and motion to
limit; prepare tolling agreement and ,
certificate of service; review service list;
review and revise all.

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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Consider timing and logistics of Complaint and 0.50
settlement filing (.3); consider "second wave"

of preparation of Complaints for unresolved

matters (.2).

Research waiver and tolling of the Section 2.70
549(d) deadline and augment Motion to Approve

Tolling Agreement to include same (.8); draft

proposed Order Approving Tolling Agreement and

Extending Deadlines (.2); review. and revise

Tolling Agreement and Motion to Approve (.6);

consider notice issues and service (.1); review

and revise Motion to Limit Notice (.2); review

and augment service list to include potential

Tolling Agreement counterparties (.4); finalize

Tolling Agreement package for Trustee’s review

(.3); confer with Trustee regarding same (.1).

Review JetPay response in preparation to 0.10
discuss with Trustee.

Continued attention to open preference 0.40
settlement, complaints.

(Re: Garofalo Goerlich) Review demand and 2.00

response; draft stipulation of settlement,

motion to approve, motion to limit and

certificate of service; prepare tolling

agreement; review service list; review and

revise all (x2).

Track/update various preference recoveries as 0.60
to receipt of settlement proceeds, status of

settlement pleadings/tolling agreements.

Update chart with new preference matter 0.50
statuses (.2); telephone call with Atty.

Dolcourt (Horry County) regarding settlement
negotiations, consider offer, and email Trustee

with recommendation regarding same (.3).

Cross check Tolling Agreement service list to 1.00
ensure ail potential settlement parties appear,
consistent with Motion to Limit Notice, and

augment and revise service list as necessary

(.7); execute Tolling Agreement approval

package and attend to filing same (.1); review

Court's Orders approving Tolling Agreement and

limited notice and follow up regarding

distribution of Tolling Agreement (.2).

Telephone call from Radixx counsel regarding 0.20

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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new value defense and update chart regarding
same.

Strategize regarding format of settlement
agreements, notice issues, and tracking of
Tolling Agreements in advance of Statute of
Limitation expiration.

(Re: Horry County Department of Airports)
Review file information and claim register as
to claim filed, if any; draft settlement
pleadings and review/revise same (x2).

Emails with Atty. Trache (Swissport) regarding
status of Stipulation.

Attention to Stipulation and Complaint filing
timing issues (.2); address notice parties,
consider adding pleading filers, and confer
with Trustee regarding same (.3).

Confer with Trustee regarding assessment of
JetPay defenses (.1), update chart to reflect
NFA (.1).

Telephone call to Atty. Dolcourt (Horry County)
regarding settlement negotiations. .
Follow up with P. Bley preference backup for
Vision Airlines.

Continued review of open preference, insider
Matters and next steps and resolution
strategies.

Continued attention to complaint, settlement
strategies and issues.

Review and revise Stipulation approval. package
for Worldwide Flight, including Stipulation,
approval motion, Tolling Agreement, Motion to
Limit Notice, and Certificate of Service (.6),
email Atty. Ledwin with Stipulation and Tolling
Agreement (.1) and follow up regarding same
(.1).

Continued review of demand responses (Raddix,
Amex, others), complaint and settlement issues
and revisions.

(Re: AMEX) Prepare and forward draft tolling
agreement to K. McGee via electronic mail.
Review status of settlement agreements/tolling
agreements/complaints; update control sheet
accordingly.

Follow up with Atty. McGee regarding AMEX

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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preference response (.1); emails regarding
Tolling Agreement for AMEX (.1); strategize
regarding settlements timing (.2); assist with
preparation of Garofalo Goerlich settlement
agreement (.1); review and assess Worldwide
Flight’s comments and suggested edits on
Stipulation and Tolling Agreement, confer with
Trustee regarding same, and email Atty. Ledwin
with response (.5); additional negotiations
with Atty. Ledwin regarding Settlement
Agreement and requested releases (.2);
telephone call with Atty. Dolcourt (Horry
County) regarding settlement negotiations and
attend to preparation of Tolling Agreement in
light of timing (.2).

Review and assess Radixx response including to
calculate new value defense (.3); memoranda
with Trustee regarding Radixx response and
update chart regarding same (.1).

Continued attention to multiple preference
complaints, settlements and devise related
strategies.

(Re; Horry County Department of Airports) Track
signed Tolling Agreement.

Review status and prepare various tolling
agreements, forward to opposing counsel, track
signed agreements, update control sheet
accordingly. (Xtra Airways, Vision Airlines,
Swissport, Wyvern, American Express, Garofalo,
Niagara, Ober, and Horry County).

Review email from P. Bley regarding Vision Air
payments.

Emails with Atty. Ledwin (Worldwide Flight)
regarding parents and subsidiaries of Worldwide
Flight, to confirm acceptability of edits to
Stipulation (.1); finalize Stipulation and
Tolling Agreement consistent with requests and
send to Atty. Ledwin for signature (.2).
Review and revise Stipulation with Swissport,
including to add additional party Swissport
North America (.8); review and revise Swissport
settlement package, including approval motion,
Tolling Agreement, Motion to Limit Notice, and
Certificate of Service (.5); further revise

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Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

Swissport settlement package including second
Tolling Agreement (.4).

Telephone call from Atty. Fraser regarding -
potential for Tolling Agreement.

Telephone call with Atty. Dolcourt regarding
Horry County settlement (.1); attention to
settlement materials (.1) and draft portion of
approval motion regarding Facility Passenger
charges (.3); review follow up regarding
Tolling Agreement (.1).

Attention to multiple settlement, complaints,
negotiations, emails, tolling agreements.
Review status of all pending tolling
agreements.

Electronic mails to/from K. McGee and receipt
of tolling agreement from K. McGee; track same.
(Worldwide) Track miscellaneous correspondence
from Attorney Ledwin regarding tolling
agreement.

Follow up regarding Horry County settlement
(.1); emails with Atty. Moorman (Radixx)
regarding review of defenses (.1); follow up
regarding Garofalo Goerlich settlement (.1);
review and revise Garofalo Goerlich settlement
package (.4), finalize for Garofalo’s review
(.2), and email to Atty. Smith for review (.1);
review and assess Vision Air backup from
Verdolino & Lowey and develop recommendation
for Trustee regarding same, especially as
related to one "subservice" payment (.9);
confer with Trustee regarding next steps with
respect to Vision Air (.2); finalize Swissport
settlement package and send to Atty. Trache. for
review (.3); emails with Atty. Trache regarding
his proposed revisions to Swissport
Stipulation, including to assess and
incorporate such edits (.6); finalize all
executed Tolling Agreements (.2).

Continued attention to multiple open preference
matters including settlement terms, discovery
issues.

Meet with G. O'Neil to review status of
preference actions prior to deadline.

Review status of outstanding tolling agreements

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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and electronic mails to/from opposing counsel
regarding same; prepare additional tolling
agreements.

Review all preference matters in advance of
Statute of Limitations expiration and confirm
status of each, and update chart in connection
with same (.9); attention to issues regarding
Tolling Agreement for Xtra Air (.1); attention
to issues regarding Tolling Agreement for
Vision Air (.2); follow up regarding multiple
outstanding Tolling Agreements (.1); emails
with Atty. Trache (Swissport) regarding
formatted Settlement Agreement (.1); review
status of Worldwide Flight settlement (.1);
execute Xtra Air and Garofalo Tolling
Agreements (.1); emails with Atty. Ledwin
(Worldwide) regarding settlement and W9 (.1);
research Vision Airlines including to attempt
to locate new contact person, and consider
recommendation for next steps based on same
(.4); email Trustee with recommendations to
wrap up Vision Air, Daniels Professional

Center, and US Airways preference matters (.8).

Review additional avoidance action matters,
determine NFAs, settlement, complaint and
tolling agreement issues and revisions.
Discussion regarding tolling agreements and
consent jurisdiction.

(Re: Worldwide) Compare language in tolling
agreement to stipulation to confirm no
discrepancy; forward executed
stipulation/tolling agreement to Attorney
Ledwin; revise language in approval motion to
conform to stipulation; review.and revise same
(x2).

Attention to wrap-up for Vision Air, Daniels
Professional Center, and USAir (.3); update
chart to reflect NFA rationale (.3); attention
to finalizing all preference matters and
confirming next steps for remaining matters
(.4); emails with Trustee regarding same (.1);
review settlement materials from Atty. Ledwin
(Worldwide Flight) (.1); review, revise, and
augment settlement package for Worldwide

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Invoice Number ******

Chapter 7 Trustee

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Flight, including Settlement Agreement,
Approval Motion, Motion to Limit Notice, and
Certificate of Service (.6).

Review filed complaints, open settlement
issues.

(Horry County) Track/calendar transmittal of
draft settlement agreement to T. Dolcourt.
Finalize Horry County Stipulation package for
review (.1) and email same to Atty. Dolcourt
(.1).

Follow up regarding outstanding Stipulations
and next steps to finalize.

Review fax from Atty. Ledwin (Worldwide Flight)
regarding payment (.1); review and execute
settlement package for Worldwide Flight and
prepare same for filing (.3).

Review multiple open preference matters,
discovery strategies and settlement issues.
Track receipt of settlement funds and service
of settlement pleadings; forward as-filed copy
of approval motion to Attorney Ledwin.

Follow up regarding Stipulation with Worldwide
Flight and filing of same (.1); confirm receipt
of settlement amount and track same (.2).
Review issues and strategies for 3/20
injunction hearing, including negotiations with
counsel regarding TRO language; multiple
related calls and emails.

Review issues and strategies for 3/20
injunction hearing and attend same (.7);
follow-up discussions with Attorneys Nickless,
Madoff and Collins (.3).

Review multiple matters for settlement
strategies.

Continued attention to open preferences,
settlement and discovery strategies.

Continued review of multiple preference matters
and devise discovery and settlement matters.
Review new case regarding ordinary course
defenses.

Attention to returned mail regarding
settlements.

Continued assessment of avoidance defenses,
settlement options.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Update and edit preference tracking charts
(.2); review status of outstanding settlements
(.1); email Atty. Smith (Garofalo) regarding
outstanding Settlement Agreement (.1); emails
with Atty. Trache (Swissport) regarding
outstanding Settlement Agreement (.2); email
Atty. Dolcourt (Horry County) regarding
outstanding Settlement Agreement (.1); email
Atty. McGee regarding AMEX response (.1);
update chart regarding outstanding settlement
matters (.1); review next steps regarding Xtra
Air preference (.1); review next steps
regarding Avfuel preference (.1).

(Horry County, Swissport, Garofalo) Track
follow-up with opposing counsel as to status of
settlement agreement.

Review preference tracking chart and update as
to outstanding issues, approvals, agreements
and deadlines.

Follow up regarding amended Complaints and
filing of same.

Attention to service issues regarding amended
Complaints.

Telephone call from Atty. Dolcourt (Horry
County) regarding settlement funds.

Edit revised preference chart.

Review and edit revised preference chart,
including to add updates.

Continued attention to multiple preference
settlements.

(Re: Swissport) Assist with efiling/service of
settlement pleadings and confirm service list;
update control sheet accordingly.

Review status of pending settlements/complaints
in connection with preference recoveries and
update control sheet accordingly.

Review executed Swissport Stipulation and
investigation signature authority (.2), revise
approval motion to be consistent with revised
final Stipulation (.2), prepare approval
documents for filing (.1), email fully-executed
Settlement Agreement to Atty. Trache (.1), and
finalize approval package and attend to filing
same (.3}); provide Trustee with update

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15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

regarding all outstanding preference matters
(.1); review and evaluate proposed revisions to
Garofalo Goerlich Stipulation and confer with
Trustee regarding same (.4); review multiple
new docket entries in Sky King case (.1).
03/30/14 goneil 9255 Revise Garofalo Settlement Agreement (.2); 1.30 331.
revise Motion to Approve to be consistent with
edits to Settlement Agreement (.2); continue
editing and updating revised Preference Charts
regarding all matters (.8); email Atty. Fraser
(Xtra Air) regarding Investigation Report (.1).

03/31/14 JHB 9255 Review additional open preference matters, 0.40 156.
resolution strategies. ,
03/31/14 kmdellec 9255 (Swissport) Track receipt of settlement : 0.10 18.
: pleadings.
03/31/14 goneil 9255 Review and edit settlement pleadings for 0.50 127.

Garofalo (.1); email Atty. Smith with updated
Agreement (.1); review and countersign returned
Stipulation from Atty. Smith (.1); prepare
settlement package for filing (.1); additional
emails with Mr. Smith regarding Stipulation
(.1).
03/31/14 goneil 9255 Confirm receipt of Swissport settlement funds, 0.30 76.
attend to same, update chart to reflect, and
attend to entry of order limiting notice.

04/01/14 JHB 9255 Review status of all open preference, insider 0.70 273
actions and next steps and strategies.
04/02/14 JHB 9255 Continued attention to preference settlements, 0.60 234

scope of releases.

04/02/14 kmdellec 9255 Update control sheet as to final approval of 0.10 18.

settlement agreement and dismissals.

04/04/14 kmdellec 9255 (Niagara Falls) Track order allowing : 0.10 18.

stipulation of settlement; calendar ahead to
file dismissal of adversary proceeding; forward
copy of order to P. Bilowz via electronic mail.

04/04/14 kmdellec 9255 Review pacer dockets and update preference 3.50 647.

chart as to status of pending
issues/settlements, complaints still to be
filed and actions requiring no further action.

04/07/14 JHB 9255 Continued attention to open preference matters, 0.30 117.

resolution strategies.

04/10/14 JHB 9255 Continued attention to open preference matters 0.40 156.

including settlement negotiations, respond to
multiple extension requests.

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Chapter 7 Trustee

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Continued emails, ‘strategies regarding open
settlement, extension issues and strategies.
Update preference chart.

Finalize Stipulation approval package regarding
Horry County and prepare same for filing.
Continued attention to open preference
settlements, answers, discovery deadlines and
related case, defense materials.

Re: Horry County Dept. of Airports - Finalize
settlement pleadings for efiling and service;
forward copy of fully executed settlement
agreement to Attorney Dolcourt via electronic
mail; track settlement proceeds; update control
sheet accordingly.

Review status of Xtra and Avfuel matters.
Continued attention to open settlement,
discovery

Continued attention to open settlement matters
(.3); lengthy call, emails with Mr. Smith,
creditors regarding claims, priority and
distribution issues (.4).

(Re: Worldwide Flight) Forward copy of order
approving stipulation of settlement of Attorney
Ledwin via electronic mail; update control
sheet and confirm no outstanding issues.

Review Court's Order approving Worldwide Flight
Stipulation and consider next steps to wrap up.
Review multiple open preference matters, next
steps to resolve.

Review pending settlements and stipulated
dismissals filed and.to be filed, update
tracking chart.

Review status of pending litigation and
adversary proceedings; prepare chart/summary of
same for tracking purposes.

Review Court’s Order approving Stipulation and
follow up regarding wrap-up.

(Re: Swissport) Receipt of order approving
stipulation and forward copy of Attorney Trache
via electronic mail; update control chart;
confirm receipt of settlement funds and no
further action.

Devise settlement parameters for multiple
preference matters.

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(Re: Garofalo Goerlich) Track order allowing
stipulation of settlement. :

(Re: Horry County Dept. of Airports) Track
order allowing motion to limit notice regarding
settlement approval motion.

Review and track Order approving Garofalo
Goerlich Stipulation (.1); email same to Atty.
Smith (.1).

Review and consider DEP letter; consider impact
on estate; plan next steps.

Réview bank balances, current fees and expenses
and current special counsel control sheet.
Confirm receipt of settlement check; memorandum
and update chart regarding same.

Assist with preparation and review of
litigation chart for Trustee.

Review all active litigation matters, pending
deadlines, settlement parameters and
strategies, open discovery issues and update
litigation chart.

Review all open preference matters, strategies
regarding settlement, discovery.

Continued review of open preference and insider
matters, resolution strategies, next steps in
discovery, litigation (.4); related claimant,
press inquiries (.3).

Review all open recovery matters, next steps to
resolve and for discovery.

(Horry County) forward copy of order approving
stipulation of settlement to Attorney Dolcourt
via electronic mail, confirm receipt of
settlement proceeds and no outstanding issues;
update preference tracking chart accordingly.
Review preference tracking chart and determine
outstanding issues/settlement orders; organize
miscellaneous file information.

Consider issues regarding upcoming tolling
agreement deadline.

Review all open preference matters, settlement,
pretrial and discovery issues and next steps.
Prepare for meeting with Trustee regarding
outstanding preference issues and
recommendations for next steps in each (.5);
meeting with Trustee regarding same (.3).

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Joseph H. Baldiga, Chapter 7 Trustee

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Emails with Atty. McGee and Verdolino & Lowey
regarding AMEX’s response to preference inquiry
and AMEX merchant numbers (.3)

Further review of various open preference
matters, emails with Attorney McGee regarding
Amex.

Further analysis regarding Amex, other
preference matters.

Review and assess information from P. Bley
regarding AMEX merchant numbers (.1); review
Bankruptcy Rules regarding recovery of
preferences from third party (e.g., credit card
companies) (.1); additional emails with P.
Bley, counsel to AMEX, and Trustee regarding
AMEX preference analysis (.4).

Review updated litigation chart.

Review updated litigation chart, next steps and
related settlement, discovery strategies.
Review open preference matters, need for
tolling agreement extensions, settlement and
complaint, discovery strategies.

Confer with Trustee regarding Tolling
Agreement. . :

Further review of open avoidance matters, next
steps.

Review materials from Attorney McGee regarding
Amex preference defenses, determine likely NFA.
Prepare second motion to (I) approve form of
tolling agreement and (II) extend certain
deadlines, motion to limit notice and
certificate of service; determine appropriate
service and review/revise all.

- Review email from Atty. McGee attaching AMEX

defenses.

Review and revise Motion to Approve Form of
Second Tolling Agreement (.7); attention to
preparation of Second Tolling Agreement, with
approval Motion (.2).

Review, revise, and update preférence chart in
connection with. confirming universe of
potential Second Tolling Agreement parties.
Revise tolling agreement form, related approval
motion and order (.6), review open matters and
pending deadlines, discovery issues (.3).

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Chapter 7 Trustee

Review and further revise Motion to Approve
Second Form of Tolling Agreement (.4); review
and revise Second Tolling Agreement (.4);
review and revise Motion to Limit Notice (.1)
and Certificate of Service (.1); finalize
package for Trustee’s review (.1) and prepare
memorandum to Trustee regarding same (.1);
implement Trustee's suggested edits into Second
Tolling Agreement documents and finalize
package for filing (.3).

Review additional AMEX defenses, materials,
determine NFA.

Review Court’s order approving Second Form of
Tolling Agreement and attend to preparation of
tolling agreements for remaining
counterparties.

Review and assess AMEX’s new value analysis and
cross-check same against backup documentation
(.5); prepare memorandum to Trustee with
evaluation and recommendations (.2); confirm no
further action needed and attend to matter wrap
up, including updating preference chart (.2).
Emails with Attorney. Magee regarding avoidance
action deadline.

Review all open preference matters, next steps
to resolution, judgment. :

Review open avoidance matters, next recovery
steps.

Revisions to litigation control chart.

Review litigation tracking chart (.2) and next
steps to address outstanding litigation (.2).
Review Form 2 as to preference recoveries
settled without litigation and revise
litigation control sheet to include same.
Follow up regarding next steps to wrap up
litigation matters.

Review updated chart, next steps in recovery
matters.

Prepare for meeting (.2) and meet with Trustee
regarding all outstanding preference litigation
matters (.5); follow up regarding total funds
collected (.1).

Edit and update preference chart regarding
multiple entries and defendants.

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15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

08/20/14 goneil 9255 Consider scope of remaining preference matters, 0.10 26.50
08/23/14 JHB 9255 Review all open recovery matters, next steps 0.80 316.00
and deadlines regarding discovery, pretrials,
settlement status.

09/02/14 JHB 9255 Review updated litigation chart, tolling 0.30 118.50
deadlines and open recovery matters.
09/02/14 goneil 9255 Review updated litigation tracking chart (.1); 0.90 238.50

review and edit preference tracking chart,
including to confirm status of remaining
matters in context of upcoming Tolling
Agreement expiration (.6); memoranda with
Trustee regarding same (.2).

09/09/14 goneil 9255 Memoranda with Trustee about Tolling Agreement 0.10 26.50
expiration.

09/16/14 goneil 9255 Confer with Trustee regarding status of final 0.10 26.50
litigation matters.

10/06/14 goneil 9255 Follow up regarding settlement results chart 0.30 79.50
(.1) and attention to revising same (.2).

10/07/14 kmdellec 9255 Review chart summarizing preference 1.00 195.00

actions/recoveries and confirm amounts as
reflected on Form 2; forward to P. Bley at
Verdolino & Lowey via electronic mail.
10/07/14 goneil 9255 ' Revise and update preference settlement totals 1.60 424.00
chart for fee applications and Verdolino &
Lowey usage (.8); additional revisions to chart
(.1); finalize chart (.6) and prepare
memorandum regarding usage of same (.1).

10/09/14 JHB 9255 Review updated litigation chart, status of open 0.30 118.50
recovery matters,

-0/21/14 goneil 9255 Update preference chart regarding Hilton, 0.10 26.50
Miami, and Avfuel., .

.0/29/14 JHB 9255 Review collection issues and strategies 0.20 79.00

regarding judgments.
TYPE 9255 TOTAL 541.80 RRR KK KK KER

ASK: 9260 Asset Disposition

ttorney Summary Hours Value Rate
66 CED Christine BE. Devine 0.50 180.00 360.00
39 JHB Joseph H. Baldiga 27.80 10,585.50 380.77

90 goneil Gina B. O'Neil 39.60 9,514.00 240.25
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Telephone call and follow up email to d.
Brighton (Wachovia) regarding liens.

Identify information needed to assess asset
disposition and email Debtor’s counsel
regarding same.

Review multiple pleadings and issues and
strategies regarding asset disposition.
Telephone calls from and to Aviation
Technologies regarding possible purchase of MI
ground equipment (.2); email J. Brighton (Wells
Fargo) to follow up regarding lien (.1).
Telephone call from T. Arant (Wells Fargo)
regarding equipment and accounts receivable
lien (.1); telephone call from J. Gallagher
regarding possible purchase of ground equipment
(.1); emails with T. Arant requesting
lien/collateral information (.2); email Trustee
regarding Wells Fargo lien (.1); email Attorney
Braunstein for additional information regarding
same (.2).

Telephone call with J. Gallagher (Aviation
Technologies) regarding locating and possible
sale of ground assets (.2); research ground
assets (.1); telephone call to Wells Fargo
regarding lien (.1); memorandum to Trustee
regarding ground assets and call with potential
buyer (.2). ,

Attend to.logistics and planning for a Myrtle
Beach headquarters site visit (.2).

Review and assess emails from J. Gallagher
regarding ground equipment at MI and.MYR
airports (3.).

Return call from K. Elsbree regarding sale
issues.

Review emails regarding Wells Fargo and assess
in context of identification of ground
equipment assets (.3); email Kalamazoo airport
representative with Trustee Appointment and

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Joseph H. Baldiga, Chapter 7 Trustee
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request for equipment list (.2); email Debtor’s
counsel regarding location of records (.2).
Further analysis, document review regarding
asset disposition issues and strategies.
Address additional logistics for site visit
(.3); telephone calls and email with Debtor’s
counsel regarding location of records at Myrtle
Beach (.8); follow up with Trustee regarding
same (.2).

Telephone call with K. Elsbree regarding
possible sale of customer information (.3);
follow-up with Trustee regarding same (.1).
Email Attorney Vian regarding Wells Fargo lien
(.1); consider sales in connection with lien
(.1); review email from Attorney Hall attaching
ucc and loan documents (.1).

Telephone call and email from T. Gallagher to
follow up regarding MI airport assets.
Continued attention to asset disposition,
retrieval issues and 4/27 site visit including
multiple emails and calls and strategies.
Additional planning for site visit including
logistics, items needed to secure records (.6).
Review emails with creditor/lease counterparty
(.1).

Telephone calls with Myrtle Beach Airport
Director regarding ground equipment, lease
(.3); review email attaching leases (.2);
respond with Trustee’s certificate (.1);
arrange meeting at airport (.1).

Review email from T. Lowe regarding on-site
materials and records, and consider same in
context of arranging for shipments (.2); email
Trustee regarding same (.1).

Telephone call (x2) to Rusty Helm at Keystone
Commercial Realty regarding upcoming site visit
by G. Barbieri and to request copy of lease;
telephone call to Strand Storage Center to
request access to debtor's storage unit;
telephone call to Lori Chase to confirm closure
of TD Bank account and strategy with trustee to
close account through branch office at TD Bank.
Emails with J. Gallagher regarding possible
purchase of phone system.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Multiple emails with Myrtle Beach Airport
Director and T. Lowe to confirm ability to
access locked spaces.

Telephone call (.6) and follow-up email (.1)
with K. Elsbree regarding possibility of and
hurdles regarding sale of customer email
addresses/personally identifiable information;
review Bankruptcy Code provisions regarding PII
in connection with same (.2).

Review Myrtle Beach Airport lease, assess
potential value in lease, and all airport
leases (.4); and email Trustee regarding same
(.1).

Multiple calls, emails regarding asset review
and disposition, planning for 4/27 site visit
and record retention/disposition.

Draft and review letter to Strand Storage
Center to request access to Debtor’s storage
unit; revisions to letter and forward to Steve
Homitz via electronic mail; electronic mails
(x3) from Rusty Helm including copies of leases
for Debtor’s business location in Myrtle Beach;
telephone call to Pat Apone at Myrtle Beach
Airport regarding lock change for office space;
telephone call to Pat Small to request lock
combination for storage unit; telephone call
(x3) to Steve Homitz at Strand Storage to
coordinate access to storage unit.

Telephone call with M. Whitehouse (Verdolino &
Lowey) regarding logistics of travel (.2);
prepare final materials and notes for site
visit (1.2); telephone call with Tom Lowe
regarding logistics of site visit, records, and
his on-site assistance (.3).

Review and revise letter to storage facility
demanding access (.2); confirm access to
storage facility and review memoranda regarding
same (.2); address locked airport space and
confirm plan for accessing same (.2).

Provide Quickbooks log-in information to
Verdolino & Lowey (.1); multiple emails _
regarding data storage and access, and consider
costs and plan related to same (.7).

Request leases for headquarters site.

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Invoice Number ****#**

Joseph H. Baldiga, Chapter 7 Trustee
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Telephone call with potential asset purchaser
PPL Group (.3); follow up emails with Trustee
and principal (.1).

Meet with property manager regarding
headquarters lease and next steps to likely
turnover of same.

Review emails regarding moving records to
Massachusetts (.1); email P. Bley regarding
keys and landlord contact (.1).

Edit Inventory List (hard assets - furniture,
electronics).

Call, emails with Attorney Hall for Wells Fargo
regarding lien perfection, extension to VNB and
bond funds (.6); review related loan documents
and related research and analysis (.9);
strategies regarding personal property
liquidation, possible deal with bank (.2).
Review and assess purchase offer, review
related case materials and email response and
acceptable offer parameters.

Analysis of offer to purchase; research party
submitting offer; summarize issues regarding
offer.

Review and consider offer to purchase routes
and business.

Lengthy calls and emails comprising
negotiations with multiple potential buyers for
hard assets and related review of property
listings, access and storage issues (2.8);
related negotiations with Attorney Hall
regarding bank carveout (.4); review related
A/R materials and related emails with Ms. Bley
(.4).

Review memoranda regarding asset sales and
assist with providing information regarding
same (.4); update, revise, and finalize
Inventory List (.4); email J. Gallagher
regarding same (.1); compile list of ground
equipment and other property at Myrtle Beach,
sc (.3); multiple emails with J. Gallagher
regarding personal property, phone systems, and
assets (.5); consider and assess Mr.
Gallagher’s request to purchase A/R and compile
list of A/R (.4).

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Emails with multiple potential buyers of
personal property regarding terms and
conditions and exclusions.

Emails with Trustee and J. Gallagher regarding
J. Gallagher’s request to purchase A/R, and
investigate same (.3); Investigate Debtor’s
Schedules and SOFA to address J. Gallagher's

request (.3); email J. Gallagher regarding same

(.1); review A/R list and identify connection
with possible preference actions for Trustee
(.2).

Review messages from M. Felton (Verdolino &
Lowey) and Trustee regarding destruction of
computers.

Extensive negotiations with Mssrs. Gallagher,

Davidson regarding potential purchase of assets

(1.1); review related schedules and asset
details, access and landlord issues (.8);
attention to computer abandonment and related
emails with Mr. Felton (.3).

Draft notice of abandonment regarding debtor’s
computers; review and revise same; review
electronic mail from M. Felton at Verdolino &
Lowey regarding computers to be abandoned and
destroyed.

Attention to request for authority to destroy
computers (.3); emails with M. Felton to
confirm details of proposed destruction (.1);
consider Motion instead of Notice of
Abandonment (.1).

Review messages between Trustee and potential
purchaser J. Gallagher and assist with
information as needed (.3); telephone call to
J. Gallagher (.1); email J. Gallagher with
Myrtle Beach, SC airport information (.1);
telephone call with J. Gallagher regarding
evidence of phone system (.2).

Review and revise computer abandonment notice
(.2); continued negotiations with potential
asset buyers (.8) and review related use and
occupancy issues (.3).

Review revisions to notice of abandonment,
attention to exhibit for same and finalize for
service; prepare proposed order regarding

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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request for limitation of notice; calendar
ahead regarding deadline objections and to
request certificate of no objection from
Bankruptcy Court.

Prepare supplemental certificate of service
regarding notice of abandonment and attention
to efiling/service of same.

Telephone calls with Myrtle Beach property
Manager regarding confirmation of phone system
assets (.2); email J. Gallagher regarding same
(.1); review emailed photos of phone system
from property manager (.1); telephone call with
company’s former IT administrator regarding
phone system (.2); multiple emails regarding
Sale terms (.2); assess issues regarding phone
system in context of reports regarding assets
at WV location (.2); email photos to J.
Gallagher (.2).

Review, update, and revise Notice of
Abandonment regarding computer casings (.7);
review local rules regarding Certificates of
Abandonment and notice parties (.1); consider
issues regarding notice to creditors in light
of local rules/matrix issues (.3); finalize
Notice of Abandonment for Trustee's review
(.1).

Review various electronic mails regarding
potential asset sale and possibility for
additional notices of abandonment.

Assist with efiling of supplemental certificate
of service in connection with notice of
abandonment regarding computers.

Review open sale, abandonment issues and
strategies.

Review and execute Supplemental Certificate of
Service regarding Notice of Abandonment
(regarding computer casings).

Telephone call with G. Quill of Punta Gorda
Airport regarding disposal of goods (.2);
follow up with Trustee regarding same and sale
status (.1).

Continued negotiations with potential buyers
(.6); assess gale v. abandonment issues and
strategies and next steps regarding multiple

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Chapter 7 Trustee

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locations (.6).

Discussion with trustee regarding issue of
notice of abandonment and-rejection motion
(.1); strategy with trustee’s counsel regarding
same (.5); review file information regarding
loan documents, asset inventory lists, storage
unit and leases and begin draft of notice of
abandonment (2.0); continue draft of
abandonment and review and revise same (2.5).
Consider abandonment issues for all assets and
leases and strategize regarding Notice of
Abandonment and Motion to Reject (.4); assist
with development of Notice of Abandonment
regarding all personal property (.4); assist
with development of Motion to Reject Real
Property Leases (.4).

Emails with potential purchaser and property
manager in final attempt to locate Myrtle Beach
phone system (.2); additional emails regarding
location of same (.2); view new photographs and
transmit to J. Gallagher (.2); attention to
possible production of sale pleadings in lieu
of abandonment (.2); additional emails with
Buyer. and property manager to identify
different phone system box (.2); telephone call
with property manager regarding her exhaustive
search of premises (.2) and email J. Gallagher
with outline of same (.2).

Telephone calls with G. Jones (Myrtle Beach.

‘property manager) regarding timing of getting

space back.

Continued calls with prospective buyers (3x)
(.5) and assess abandonment strategies (.2).
Review and consider request from Horry County
Airport (MYR) to move stored supplies.

Emails with M. Felton regarding status of
abandonment of computers, and track anticipated
abandonment date in connection with same.
Prepare draft letter to Bankruptcy Court
requesting issuance of certificate of no
objection regarding notice of abandonment (re:
computers) .

Additional review of draft notice of
abandonment (re: miscellaneous office

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Direct Air (Southern Sky Air & Tours, LLC)

equipment) and revise as to description and
location of assets to be abandoned; review
revisions (x2) and determine exhibits for same.
Emails with Verdolino & howey regarding timing
of computer destruction.

Assist with development of description of
assets for Notice of Abandonment.

Continued negotiations with buyers and
determine on sale prospects (.6); strategies
regarding abandonment/rejection (.3).

Review debtor’s Schedule G and lease for
debtor's Myrtle Beach location (.5); draft
motion to reject any and all tenancy and/or use
and occupancy agreements with exhibit defining
agreements (2.5); review and revise all (x2)
(.6).

Review message from J. Gallagher confirming no
asset sale (.1); prepare for abandonment (.2).
Develop format and background for Motion to
Reject Leases.

Email to Attorney Hall regarding property/lease
disposition (.2); review open abandonment
issues (.2).

Calendar ahead regarding possible abandonment
of VNB account; review trustee's electronic
mail to bank's counsel regarding status of
abandonment and lease rejection motion,

Review electronic mail from accountant
regarding scheduled pick up date for computers
to be destroyed pursuant to notice of
abandonment.

Review and revise Notice of Abandonment of
Personal Property.

Numerous calls with airport counsel regarding
asset disposition (3x) (.7); review related
abandonment, rejection strategies (.2).

Review timing for notice of abandonment and
motion to reject.

Prepare informal inventory for notice of
abandonment of ground equipment located at
Myrtle Beach Airport and review same.
Telephone call from R. Helm (Keystone)
regarding status of lease (.1); review messages
from Trustee regarding airports’ inquiries

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Chapter 7 Trustee

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(.1); email Wells Fargo to request information
for the Notice of Abandonment (.2); further
revise and augment Notice of Abandonment of
Personal Property (1.8); create internal
inventory of Myrtle Beach Airport Ground
Equipment as an exhibit to Notice (.2).

Review revisions to notice of abandonment (.8);
make additional revisions and review same and
attention to exhibits (.7); draft and review
motion to limit notice regarding abandonment
and motion to reject and revise certificate of
service (.5).

Review revisions to motion to reject leases and
implement additional revisions to same to
supplement certain portions in connection with
lease agreements. ,
Finalize request for certificate of no
objection for efiling.

Review and revise Motion to Reject Leases and
identify sections to update and augment.
Emails with B. Hall (Wells Fargo) regarding
abandonment.

Attend to revisions and updates regarding
Notice of Abandonment (.2); review revised
Notice of Abandonment of Debtor’s Personal
Property and augment same (1.2).

Further attention to abandonment/rejection
strategies (personal property/leases); related
call and emails with Attorneys Haber (.3),
Fixler (.1), Boyd (.3); strategies regarding
West Virginia site (.3).

Call to Bankruptcy Court to request timing for
issuance of certificate of no objection
regarding notice of abandonment; telephone call
from Madelyn at Bankruptcy Court regarding
same.

Review final revisions to motion to reject and
attention to exhibits and proposed order for
same (1.2); review service list and revise
motion to limit notice and certificate of
service (.3); electronic mail to S. Homitz at
Strand Storage Center regarding terms of
storage unit (.1).

Address abandonment and recycling of computer

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

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shells following expiration of objection
deadline.

Consider service of abandonment notice.
Continued emails with Attorneys Fixler, Boyd
regarding West Virginia site and personal
property (.3), review underlying case materials
regarding same (.2).

Continued attention to disposition of personal
property, leases including grounds for
abandonment (.2); related emails with Attorneys
Fixler, Boyd (.2).

Review, revise, and finalize Notice of
Abandonment for Trustee's review (1.3); review
and revise Motion to Limit Notice (.3).

Review, revise, and finalize Motion to Reject
Leases for Trustee's review (1.2); review in
detail various airport and office leases in
connection with same (1.0); research Bankruptcy
Code provisions regarding lease rejection in
connection with same (.3); review Certificate
of Service and update service list to include
notice parties from leases (.4).

Review and assess Trustee’s suggested revisions
to Notice of Abandonment, Motion to Reject
Leases, and Motion to Limit Notice.

Final review of notice of abandonment and
motion to reject prior to service; confirm
exhibits for both; confirm service list in
connection with motion to limit notice;
finalize all for service.

Implement Trustee’s edits into Notice of
Abandonment (.2), Motion to Limit Notice (.1),
Motion to Reject Leases (.2), and Certificate
of Service regarding all (.1); review revised
abandonment and rejection documents and prepare
entire package for filing and'service (.6).
Track order allowing motion to limit notice
regarding notice of abandonment regarding
computers, telephone call to and from
Bankruptcy Court regarding status of
certificate of no response to notice of
abandonment regarding computers. .

Confirm service of notice of abandonment and
motion to reject; prepare amended certificate

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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of service as to Massachusetts Port Authority
due to failure of fax delivery; calendar ahead
regarding response deadline for notice of
abandonment and to request certificate of no
response.

Receipt of Clerk’s Certificate as to no
objection regarding notice of abandonment (re:
computers); telephone call to and from Joann at
Bankruptcy Court regarding docketing same;
update control sheet accordingly.

Follow up regarding service of abandonment
notice, and objection deadline.

Review open bond issues and materials and
respond to Attorney O’Neil inquiry regarding
Horry Bank bond draw, stay relief.

Call from airport counsel (2x) regarding
dispositions of personal property, abandonment.
Inquiries from several buyers regarding
possible offers, abandonment.

Review emails from Jennifer Steward at Liquid
Asset Partners regarding possible submission of
offer for purchase of estate assets; calendar
ahead regarding same.

Review memoranda between Trustee and Liquid
Asset Partners representative regarding
possible asset sale.

Track receipt of order allowing limitation of
notice regarding notice of abandonment; prepare
request for certificate of no objection.

Review and address Court’s Order regarding
Notice provided for Notice of Abandonment.
Review Motion filed by Horry County Airport for
Relief from Automatic Stay.

Calls, emails from potential buyers (3x).

Draft and review Chapter 7 trustee’s statement
of no objection regarding motion for relief
filed by Horry County Airport; service list
updates.

Telephone call from Joanne at Bankruptcy Court
and letter to Bankruptcy Court enclosing fee
for certificate of no objection (re: notice of
abandonment) .

Review Horry Airport bond motion and revise
statement of no opposition regarding same (.4);

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Invoice Number ******

Chapter 7 Trustee

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formulate grounds regarding second bond
turnover and release issues (.4); related
emails with Attorney Carver (.2).

Track receipt of order approving motion to
reject contracts.

Review and address Court’s Order approving
lease rejection as of the Conversion Date.
Calls, emails from potential asset buyers (3x)
Receipt of clerk's certificate of no objection
regarding notice of abandonment (personal
property) and track same.

Telephone call with H. Wild of Department of

Labor regarding Notice of Abandonment of Estate

assets.

Buyer inquiries and assess potential deals.
Telephone call from Kate Fleming at Legacy GSE
regarding possible purchase of ground
equipment.

Strategy regarding abandonment of ground
equipment located at Myrtle Beach airport in
connection with possible sale of same.
Creditor inquiries; inquiries from buyers.

Telephone call from and forward copy of clerk's

certificate of no objection to Tom Hinkel at
Myrtle Beach Airport regarding notice. of
abandonment regarding ground equipment via
electronic mail; strategy regarding sale of
ground equipment and notice of abandonment.
Two telephone calls with T. Hinckle regarding
Myrtle Beach ground equipment (.2); follow up
regarding same, including to review status of
abandonment (.1).

Further calls, emails from potential asset
buyers and review related lien issues.
Telephone call from Kay Fleming regarding
ground equipment.

Continued buyer inquiries and formulate
response to same.

Telephone call from Kay Fleming at Legacy GSE
and forward information regarding ground
equipment located at Myrtle Beach Airport via
electronic mail; report same to trustee;
receipt of offer from Kay Fleming via
electronic mail; review trustee’s instructions

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Invoice Number ******

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to decline offer.

Review memorandum regarding possible sale of
ground equipment and consider same in light of
abandonment (.1); review and consider offer
from Rampslist.com for ground equipment (.2);
emails with Trustee regarding rejecting offer
(.1); email offeror to reject offer, with
information for lien holder (.2).

Further buyer inquiries and review related
carveout issues.

Review and address letter from Liquidity
Solutions requesting information.

Call from potential buyer of operating
certificate (.3), related emails with Attorney
Braunstein, Boyd and Handel (.4).

Review memoranda between Trustee and Department
of Transportation regarding offer to purchase
Debtor’s Airline Operating Certificate and
transferability of same.

Further calls, emails from potential asset
buyers (3x) (.4) and review related case
materials (.2). .

Further emails with Attorney Boyd, Handel
regarding flight certificates, asset issues.
Emails with M. Mollo (Verdolino & Lowey)
regarding Debtor cash discovered in boxes of
records.

Review notice of abandonment (re: ground
equipment, etc.) in connection with inquiry
about Pittsburgh Airport ground equipment and
review certificate of service to confirm
service on same.

Review and address email from Attorney Boyd
(counsel to J. Tull) regarding equipment and
inquiries from Pittsburgh Airport (.1); review
memorandum regarding abandonment of assets,
including Notice of Abandonment and Trustee‘’s
response (.2); respond to Attorney Boyd
regarding abandonment (.1). ,
Telephone call from Attorney Ledwin regarding
disposition of computer terminals in airport.
Attention to additional revisions to notice of
abandonment .

Track potential abandonment regarding proof of

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MIRICK, O’ CONNELL Page373

Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

claim filed in Sky King bankruptcy case.
TYPE 9260 TOTAL . , 98.30 25,753.50

TASK: 9280 Case Administration

Attorney Summary Hours Value Rate

166 CED Christine E. Devine 0.10 37.00 370.00

290 goneil Gina B. O'Neil 1.60 384.00 240.00

TYPE 9280 TOTAL 1.70 421.00

Time Detail Hours Value
04/11/12 goneil 9280 Confirm absence of 401(k) plan. 0.10 24.00
04/26/12 goneil 9280 Review and assess advance data room copy of 1.00 240.00

Debtor’s draft Schedules and SOFA (.8); email
Trustee regarding assessment and follow up
regarding same (.2).

05/07/12 goneil 9280 Review docket and confirm no additional 0.20 48.00
hearings scheduling during Ch. 11 case.
05/08/12 goneil 9280 Review Debtor’s Notice of Post-Petition 0.20 48.00
Creditors and identify deficiencies therein.
05/10/12 goneil 9280 Review Notice of Amended SOFA. 0.10 24.00
02/25/13 CED 9280 Email to K. McDonough regarding 341 meeting. 0.10 37.00
TYPE 9280 TOTAL 1.70 421.00

TASK: 9290 Claims Administration and Objections

Attorney Summary Hours Value Rate

152 PWC Paul W. Carey 0.20 75.00 375.00
139 JHB Joseph H. Baldiga 121.60 47,179.50 387.99
290 goneil Gina B. O'Neil 55.00 13,692.00 248.95
255 cbhorourk Cori B. O’Rour 5.60 1,064.00 190.00
174 kmdellec Kimberly M. De 463.90 84,817.50 182.84
170 LAK Laura A. Keeler 17.40 3,231.00 185.69

"YPE 9290 TOTAL 663.70 150,059.00
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MIRICK, O’ CONNELL

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

14190 Direct

Time Detail

04/12/12 kmdellec 9290

04/23/12
04/23/12

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Coordinate/assist with creation of master
service list.

Updates to service list.

Receipt and review of copies of two claims from
Attorney Braunstein’s office regarding Uniglobe
Weekly Travel and Kegerreis and strategy
regarding same.

Review emails with Sky King (.1); telephone
call with Sky King President and counsel
regarding Sky King creditor issues (.4).
Telephone call and electronic mail to Georgette
at Uniglobe Weekly Travel to provide blank
proof of claim form. /

Consider T. Lowe’s questions regarding
unemployment and employee issues and respond to
T. Lowe regarding same.

Review email from T. Lowe regarding employee
payroll issues (.1) and confer with Trustee
regarding same (.1).

Emails with IT Director employee regarding
non-payment of final paychecks.

Review loan, lien documents from Wells Fargo
and related implications for bond, escrow
proceeds,

Emails and call with Mr. Murphy from IRS
regarding fuel excise tax claims and send
related schedules to mr. Murphy.

Receipt of claims bar date for added creditors
and calendar ahead regarding same.

Review pacer docket as to issuance of Ch. 7 bar
date by Bankruptcy Court, timing as to when
debtor filed schedules in connection with
question as to whether or not all creditors
received notice of bar date (.4); review
service list to confirm schedule and added
creditors (.6). :

Draft administrative bar date motion;
review/revise same.

Address issue regarding matrix (.1); review
information regarding rescheduled bar date
(.1).

Revise administrative bar date motion with

Hours Value
0.50 90.00
0.50 90.00
0.30 54.00
0.50 120.00
0.20 36.00
0.20 48.00
0.20 48.00
0.40 96.00
0.80 304.00
0.40 152.00
0.10 18.00
1.00 180.00
1.50 270.00
0.20 48.00
1.40 252.00
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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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proposed bar date order (1.0); strategy
regarding service of same (.1); further
revisions/review motion to include request for
limitation of notice (.3).

Consider, investigate, and address issues
regarding service of Ch. 11 Bar Date Notice to
consumer travelers.

Revise C. 11 bar date motion and review related
notice issues.

Review (x2) revisions to admin bar date motion
(.5); additional revisions to same (.1).

Track new pre-petition bar date.

Revise and finalize revised administrative
claim motion.

Review ‘service list to include relevant
governmental agencies, i.e., the TSA, U.S.
Department of Transportation and Attorney
General's Office, on-line search for service
addresses for same (.6); revise administrative
bar date motion to include relevant
governmental agencies in request for limitation
of notice (.5).

Attention to service list updates resulting
from notices of appearances filed with
Bankruptcy Court and appeal case.

Obtain copies of debtor’s list of post-petition
creditors and amended list of post-petition
creditors and coordinate revisions to
datatable; review revisions to admin bar date
motion (x2).

Review and revise Administrative Bar Date
Motion, including to consider and identify
additional notice parties from Ch. 11 period.
Review and consider email request from former
controller M. Baldwin to provide revenue.
information to South Carolina Unemployment
Department (.1); emails with Trustee regarding
same (.1); respond to M. Baldwin email to
facilitate access to required information while
reserving Trustee's rights (.2); email
Verdolino & Lowey regarding same (.1).
Telephone calls with Attorney Ewing regarding
World Atlantic Airlines claim (.3); follow up
email regarding same (.1).

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MIRICK, O’ CONNELL

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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ASsist with service list additions and
classification of post-petition creditors.
Assist with finalizing Motion for
Administrative Claim Bar Date.

Review strategy from trustee in response to
creditor inquiries regarding notice of bar date
and creditors’ meeting issued by Bankruptcy
Court; review bar dates/calendar for same.
Emails with T. Lowe regarding employee claim.
Email counsel for World Atlantic Airlines for
updated address, due to returned mail.

Prepare certificate of service regarding
service of administrative bar date order;
review service list and review schedules and
docket to identify creditor TNCI; attention to
service list updates based on post-petition
creditors, professional service providers
identified in 2004 motion, known landlords;
coordinate service of same.

Review Scheduling Order, track Ch. 11
Administrative Claim Bar date, and identify
additional parties to add to Notice List.
Forward copy of blank proof of claim form to
creditor via electronic mail; create template
email for future responses to requests from
creditors for proof of claim form.

Confirm that Schedule G parties were served
administrative bar date order and draft
supplemental certificate of service regarding
same,

Letter to Bankruptcy Court enclosing proofs of
claim from Daniel Farley and Daniel Isenberg
for filing.

Review and execute supplemental Certificate of
Service.

Creditor inquiries regarding claim, priority
issues (2x). .

Letter to Bankruptcy Court enclosing various
original proofs of claim for filing.

Attention to service list updates.

Review open claim, priority and lien issues and
resolution strategies.

Multiple claimant inquiries regarding priority,
component issues (4x).

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